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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA


DR. SAAD ALJABRI,

   c/o Jenner & Block LLP
   1099 New York Avenue, NW
   Suite 900                                   Civil Action No.___
   Washington, DC 20001-4412

      Plaintiff,                               COMPLAINT

      v.                                       JURY TRIAL DEMANDED

MOHAMMED         BIN    SALMAN   BIN
ABDULAZIZ AL SAUD,
Al Auja Palace,
Wadi Hanifah,
Riyadh, 13731
Kingdom of Saudi Arabia

PRINCE MOHAMMED BIN SALMAN
ABDULAZIZ FOUNDATION d/b/a MISK
FOUNDATION,
Abdullah Al Sahmi,
Al Safarat District Area,
P.O. Box 7605
Riyadh, 12512
Kingdom of Saudi Arabia

BADER ALASAKER,
Kingdom of Saudi Arabia

SAUD ALQAHTANI,
Kingdom of Saudi Arabia

AHMED ALASSIRI,
Kingdom of Saudi Arabia

KHALID       IBRAHIM      ABDULAZIZ
ALGASEM,
Kingdom of Saudi Arabia
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 MISHAL FAHAD ALSAYED,
 Kingdom of Saudi Arabia

 BANDAR SAEED ALHAQBANI,
 Kingdom of Saudi Arabia

 IBRAHIM HAMAD ABDULRAHMAN
 ALHOMID,
 Kingdom of Saudi Arabia

 SAUD ABDULAZIZ ALSALEH,
 Kingdom of Saudi Arabia

 YOUSSEF ALRAJHI,
 3049 Saint Regents Dr., Apt. 122
 Fairfax, VA 22031-1287

 MOHAMMED ALHAMED,
 Kingdom of Saudi Arabia

 LAYLA ABULJADAYEL,
 3920 Mystic Valley Pkwy., Apt. 912
 Medford, MA 02155-6909

 BIJAD ALHARBI,
 Kingdom of Saudi Arabia

 JOHN DOES 1-11,

        Defendants.


                                      COMPLAINT

       Plaintiff Dr. Saad Aljabri (“Dr. Saad”), by and through his attorneys, alleges upon

knowledge as to himself and his own actions and upon information and belief as to all other

matters, as follows:




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                                  NATURE OF THIS ACTION

         1.    “Our strong arms be our conscience, swords our law.” – Richard III, William

Shakespeare.

         2.    These are the words of a man who, in his quest to become king, kidnapped children,

manipulated allies, and killed those in his way.

         3.    Now, some hundreds of years after Shakespeare penned this verse, comes this

lawsuit—necessitated by a similar thirst for power.       In this case, the power sought is the

unencumbered throne of the Kingdom of Saudi Arabia, and the man seeking it is Mohammed bin

Salman al Saud (“Defendant bin Salman”), the Crown Prince of the Kingdom. Because the path

to that power runs through the United States, those who could block that path through this country

have everything to lose—including their lives.

         4.    Fortunately, in the United States, justice is measured not by the might of one’s

arms; what is lawful is measured not by the reach of one’s sword; and the law itself is not laggard

when faced with a prince who, having directed the dismemberment of a prominent U.S. journalist

overseas, also dispatched a team of hunters and killers into the United States and Canada to murder

again.

         5.    The target of that attempted killing is Plaintiff Dr. Saad Aljabri (“Dr. Saad”)—a

longtime trusted partner of senior U.S. intelligence officials. Dr. Saad is uniquely positioned to

existentially threaten Defendant bin Salman’s standing with the U.S. government. That is why

Defendant bin Salman wants him dead—and why Defendant bin Salman has worked to achieve

that objective over the last three years.



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       6.      Few alive know more about Defendant bin Salman than Dr. Saad. Through his

decades of service in the Saudi government, Dr. Saad was privy to sensitive information about

Defendant bin Salman’s covert political scheming within the Royal Court, corrupt business

dealings, and creation of a team of personal mercenaries that Defendant bin Salman would later

use to carry out the extrajudicial killing of Jamal Khashoggi, among others. Few places hold more

sensitive, humiliating, and damning information about Defendant bin Salman than the mind and

memory of Dr. Saad—except perhaps the recordings Dr. Saad made in anticipation of his killing.

       7.      At the same time, few alive have had a closer partnership with the U.S. intelligence

and security apparatus (the “U.S. Intelligence Community”) than Dr. Saad. Through decades of

close cooperation with senior U.S. officials on counterterrorism projects while serving the Saudi

government, Dr. Saad came to be a trusted partner whose information and counsel was sought

before making life-and-death decisions about U.S. national security. Respect was mutual, and

well-earned. Indeed, in 2010, Dr. Saad led a team that saved hundreds—if not thousands—of

American lives by interrupting a terrorist plot targeting synagogues in Chicago, Illinois.

       8.      That combination of deep knowledge and enduring trust by top U.S. officials is why

there is virtually no one Defendant bin Salman wants dead more than Dr. Saad.

       9.      To fulfill his murderous desire, Defendant bin Salman has personally orchestrated

an attempted extrajudicial killing of Dr. Saad, an attempt that remains ongoing to this day. In an

effort to limit the U.S. government’s access to a key partner with unique knowledge, Defendant

bin Salman sent explicit and implicit death threats to Dr. Saad; sought to lure Dr. Saad to

jurisdictions in which he could be killed; repeatedly deployed covert agents in the United States

as part of a mandate to hunt down Dr. Saad; filed false claims with intergovernmental organizations
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of which the United States is a member to limit Dr. Saad’s ability to travel; seized two of Dr.

Saad’s children to lure him back to Saudi Arabia; and ultimately dispatched a hit squad across the

Atlantic Ocean in a direct attempt to kill Dr. Saad. These are just a few of the many acts comprising

Defendant bin Salman’s brutal attempted killing.

         10.    Defendant bin Salman’s ongoing and attempted extrajudicial killing has involved

three basic steps: (i) luring Dr. Saad back to Saudi Arabia; (ii) hunting Dr. Saad in the United

States and elsewhere to locate him; and (iii) sending a hit squad to kill him. Each of these steps

has advanced Defendant bin Salman’s ultimate objective: to kill Dr. Saad and thereby eliminate

someone who could undermine—and indeed, existentially alter—Defendant bin Salman’s support

from the U.S. government.

         11.    First, Defendant bin Salman has taken steps to lure Dr. Saad back to Saudi Arabia

or to another jurisdiction where he could be more easily killed without consequences. After Dr.

Saad fled Saudi Arabia for his safety, Defendant bin Salman personally sent threatening messages

to Dr. Saad using WhatsApp, demanding that he return to Saudi Arabia within “24 hours!”1

Shortly thereafter, he threatened Dr. Saad and attempted to send a private airplane to render Dr.

Saad back to Saudi Arabia. When that failed, Defendant bin Salman’s threats became more

explicit. In his own words, Defendant bin Salman threatened that he would deploy “all available

means” to eliminate Dr. Saad.2




1
 WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 9, 2017, 11:36 PM AST).
WhatsApp messages sent to Dr. Saad by Defendant bin Salman and others that are quoted in this
Complaint have been professionally translated from their original Arabic language.
2
    WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
                                                 5
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       12.     In addition, Defendant bin Salman has directed the arrest, detention, and

kidnapping of Dr. Saad’s family members, all in an effort to lure Dr. Saad out of hiding and into a

place where Defendant bin Salman can kill him. Indeed, as of the date of this filing, two of Dr.

Saad’s children who were “disappeared” in mid-March are being held in an unknown location in

Saudi Arabia. Defendant bin Salman ordered the abduction of twenty-two-year-old Omar and

twenty-year-old Sarah from the Aljabri family residence in Riyadh, Saudi Arabia, and then a team

of fifty armed men in unmarked cars and dressed in civilian clothes—under the supervision of a

close ally of Defendant bin Salman, Salah Aljotaili—roused them from their beds in the early

morning hours of March 16, 2020 and “disappeared” them. Dr. Saad has not seen them since.

Other relatives of Dr. Saad inside and outside of Saudi Arabia have also been arrested, detained,

and tortured, all in an effort to bait Dr. Saad back to Saudi Arabia to be killed.

       13.     Second, Defendant bin Salman has sought to hunt Dr. Saad down and trap him

wherever he was located in order to facilitate his killing. That hunt that took place primarily in

the United States, where Dr. Saad owns property and where Defendant bin Salman believed Dr.

Saad to be residing.

       14.     Acting through his personal charitable foundation, Defendant Prince Mohammed

Bin Salman bin Abdulaziz Foundation (also known as the “MiSK Foundation”) and Defendant

Bader Alasaker (“Defendant Alasaker”), Defendant bin Salman recruited and deployed a network

of Saudi agents living in the United States (the “U.S.-Based Covert Agent Defendants”) who used

covert and deceptive means to hunt Dr. Saad and his family in Boston, Massachusetts, ultimately

in an effort to identify his location for an attempted killing.



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       15.     Defendant bin Salman also sought to activate the levers of the International

Criminal Police Organization (“INTERPOL”), an intergovernmental organization of which the

United States is a member, by filing baseless allegations so that Dr. Saad and his family members

would be trapped and unable to travel while Defendant bin Salman set in motion his plan to kill

him. To further assist in hunting down and trapping Dr. Saad, Defendant bin Salman’s agents

hacked Dr. Saad’s personal smartphones and froze his bank accounts.

       16.     Third and finally, Defendant bin Salman in fact dispatched a hit squad to North

America to kill Dr. Saad. On or around October 15, 2018—less than two weeks after the

extrajudicial killing of Washington Post columnist Jamal Khashoggi, and while the Saudi

government was denying even the fact of his death—another team of Saudi nationals traveled

across the Atlantic Ocean from Saudi Arabia to Canada, where Dr. Saad lives in exile, with the

intention of killing Dr. Saad. Like the team that murdered Khashoggi, those sent to kill Dr. Saad—

named in this Complaint as the “Tiger Squad Defendants”—were also members of Defendant bin

Salman’s personal mercenary group, the Tiger Squad. Carrying two bags of forensic tools, and

complete with forensic personnel experienced with the clean-up of crime scenes—including an

instructor in the exact same criminal evidence department as the forensic specialist who

dismembered Khashoggi with a bone saw—the Tiger Squad Defendants attempted to enter Canada

covertly, traveling on tourist visas and seeking to avert the detection of Canadian border security

by entering through separate kiosks.

       17.     Upon approaching the kiosks, the Tiger Squad Defendants aroused the suspicion of

Canadian border security officials, who asked them whether they knew each other. They lied and

said they did not. On information and belief, shortly thereafter, during secondary screening,
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Canadian officials found a photo of some of the Tiger Squad Defendants together, revealing their

lie and thwarting their mission.

       18.     On information and belief, Defendant bin Salman, Defendant Saud Alqahtani, and

Defendant Ahmed Alassiri, with the support of Defendant Alasaker, orchestrated and directed the

failed mission to kill Dr. Saad, which bore striking resemblance to the tactics and personnel they

had deployed against Khashoggi thirteen days earlier. Each aspect of this attempt has had one

ultimate objective: to kill Dr. Saad and thereby limit the U.S. government’s access to a key partner

with unique knowledge.

       19.     Having failed to finish the job in Canada, Defendant bin Salman continues in his

attempted extrajudicial killing to this day. In recent months, Defendant bin Salman obtained a

fatwa directed at Dr. Saad—in this case, a ruling by religious authorities endorsing the killing of

Dr. Saad. Following the failure of the October 2018 Tiger Squad plot in Canada, upon information

and belief, Defendant bin Salman now plans to send agents directly through the United States to

enter Canada “by land” and, once and for all, eliminate Dr. Saad.

       20.     Defendant bin Salman’s targeting of Dr. Saad directly implicates U.S. interests.

Indeed, Dr. Saad’s close ties to the U.S. Intelligence Community stand in the way of Defendant

bin Salman’s consolidation of influence and power among U.S. government officials. Dr. Saad

formed those close ties with the United States while establishing Saudi Arabia as “one of

Washington’s most important and reliable partners in counterterrorism, both globally and within




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the region.”3 And those ties have been crucial to saving American lives, like the hundreds—if not

thousands—of lives that were saved when Dr. Saad led a team of informants that prevented a plot

by an al-Qaeda affiliate to bomb two United States-bound cargo airplanes.

       21.     Defendant bin Salman’s desire to disrupt these ties by eliminating Dr. Saad has

been transparent. Defendant bin Salman had Dr. Saad stripped of his position in the Saudi

government for meeting with Director for the U.S. Central Intelligence Agency (“CIA”) John

Brennan. Similarly, in May 2017, after public reporting on a U.S. lobbying effort pursued by Dr.

Saad’s close ally, Dr. Saad learned of credible threats that caused him to fear for his safety and

flee Saudi Arabia.

       22.     After Defendant bin Salman staged a coup that ousted Dr. Saad’s close ally, then-

Crown Prince Mohammed bin Nayef (“Mr. bin Nayef”)—and appeared to receive political cover

from President Trump to do so—the U.S. Intelligence Community continued to rely on Dr. Saad

and Mr. bin Nayef, who had become instrumental to protecting U.S. national security. 4 Indeed,

on information and belief, Defendant bin Salman believes that Dr. Saad is responsible for the

CIA’s conclusion—leaked in November 2018—that Defendant bin Salman personally ordered the


3
 Letter from William S. Cohen, Former Sec’y of Def., Michael Morell, Former Acting Dir. of the
Cent. Intelligence Agency, et al. to the President of the U.S. & Members of Cong. (Sept. 23, 2016),
https://www.al-
monitor.com/pulse/files/live/sites/almonitor/files/documents/2016/letter_obama_congress_jasta.p
df; Lina Khatib, The Regional Impact of Saudi Succession, Carnegie Middle East Ctr. (Jan. 23,
2015), https://carnegie-mec.org/diwan/57663.
4
 David Ignatius, This Former Intelligence Official Was a Hero. He’s Now the Target of a Brutal
Campaign          by        MBS,        Wash.         Post,       May        28,        2020,
https://www.washingtonpost.com/opinions/2020/05/28/this-former-intelligence-official-was-
hero-hes-now-target-brutal-campaign-by-mbs/.

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killing of Jamal Khashoggi.5 That conclusion severely injured Defendant bin Salman’s standing

and reputation in the United States and other western countries.6

       23.     Accordingly, to Defendant bin Salman, the threat posed by Dr. Saad to Defendant

bin Salman’s standing in the United States is an urgent and ongoing one. Defendant bin Salman’s

attempted extrajudicial killing has confronted that threat: to maximize Defendant bin Salman’s

chances of U.S. support for his ascension, Dr. Saad had to be eliminated.

       24.     Three years into a still-ongoing attempted extrajudicial killing—where the only

conceivable end is Dr. Saad’s death—he now brings a claim for attempted extrajudicial killing

under the Torture Victim Protection Act (“TVPA”) as well as a related claim for violation of the

law of nations under the Alien Tort Statute (“ATS”). Both are aimed at ensuring that flagrant

violations of U.S. law and international norms and standards do not go unchecked, and that victims

who suffer as a result of such violations may seek redress in a legitimate forum.

       25.     In particular, the TVPA was adopted to create a civil cause of action to ensure

“[j]udicial protection against [specified] flagrant human rights violations” targeting foreign

citizens in foreign lands in recognition of the “universal condemnation” of official torture and

summary executions and the need for accountability when such intolerable conduct is perpetrated.




5
 Shane Harris, Greg Miller & Josh Dawsey, CIA Concludes Saudi Crown Prince Ordered Jamal
Khashoggi’s        Assassination,       Wash.        Post,       Nov.        16,       2018,
https://www.washingtonpost.com/world/national-security/cia-concludes-saudi-crown-prince-
ordered-jamal-khashoggis-assassination/2018/11/16/98c89fe6-e9b2-11e8-a939-
9469f1166f9d_story.html.
6
 Ben Hubbard, One Year On, Shadow of Khashoggi’s Killing Stalks Saudi Prince, N.Y. Times,
Oct. 2, 2019, https://www.nytimes.com/2019/10/02/world/middleeast/khashoggi-killing-mbs-
anniversary.html.
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S. Rep. No. 102-249, at 3 (1991). Indeed, Congress recognized that “[a] state that practices torture

and summary execution is not one that adheres to the rule of law.” Id. The TVPA “is designed to

respond to this situation by providing a civil cause of action in U.S. courts for torture committed

abroad.” Id. at 3–4; see also H.R. Rep. No. 102-367(I), at 3 (1991).

       26.     Likewise, the ATS was enacted so that U.S. courts would have jurisdiction over

actions in tort that violated the law of nations, even when committed against non-citizens, so that

victims of such wanton conduct would have a civil remedy.

       27.     Dr. Saad is entitled to relief for the pain and trauma he has suffered at the hands of

Defendant bin Salman and his agents and affiliates. Litigation alone cannot provide justice to Dr.

Saad, in the face of the brutal hunting and attempted killing orchestrated by Defendant bin Salman.

However, this Court can begin the process of holding Defendant bin Salman and his agents

accountable for their actions, accountable for yet again reaching across international borders,

including reaching into the United States, to hunt down and ultimately kill a man the United States

has long relied upon to keep American citizens safe and who is being targeted precisely because

of his relationship with the United States.



                                              PARTIES

Dr. Saad

       28.     Plaintiff Dr. Saad Aljabri (“Dr. Saad”) is a 39-year veteran of the government of

Saudi Arabia with expertise in national security and counterterrorism. He has served as one of the

U.S. Intelligence Community’s closest and most important partners in the region.



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       29.     Dr. Saad holds a master’s degree in computer science and a Ph.D. in artificial

intelligence. He began his career in the Saudi government in 1976, where he served in numerous

positions in the Saudi Ministry of Interior, and ultimately became a trusted advisor of former

Crown Prince Mohammed bin Nayef, who served as Minister of the Interior.

       30.     In particular, while serving as Mr. bin Nayef’s chief of staff, Dr. Saad led the

development of Saudi Arabia’s security and counter-terrorism agencies, including the Mabahith.

This agency fostered important partnerships with U.S. and other western intelligence and security

agencies.

       31.     Dr. Saad is a dual citizen of Malta and the Kingdom of Saudi Arabia. Fleeing

Defendant bin Salman in 2017, Dr. Saad relocated first to Turkey and then secretly to Canada. He

currently resides in Canada, where he is a permanent resident.

       32.     At all relevant times, Dr. Saad maintained close contacts with senior U.S.

intelligence officials, as described further below.

       33.     At all relevant times, Dr. Saad has owned and maintained property or assets in

Washington, D.C. and elsewhere in the United States. Dr. Saad was previously associated with

the Belfer Center for Science and International Affairs at the Harvard Kennedy School in

Cambridge, Massachusetts. In addition, for periods of time in fall and winter 2017—around the

time a hunt for Dr. Saad occurred in the United States—Dr. Saad’s wife, Nadyah, and four sons—

Khalid, Mohammed, Naif, and Sulaiman—lived in the United States in Boston, Massachusetts.

Dr. Saad is also a grandfather of three U.S. citizens.




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Defendant bin Salman

       34.     Defendant Mohammed bin Salman bin Abdulaziz Alsaud (“Defendant bin

Salman”) is a Saudi national who currently serves as Crown Prince of the Kingdom of Saudi

Arabia. He resides in Riyadh, Saudi Arabia.

       35.     Defendant bin Salman seized power by coup in 2017.7 In particular, and as

discussed in more detail below, upon being named Deputy Crown Prince in 2015, Defendant bin

Salman undertook a campaign to consolidate his power and maximize his influence and credibility

within the U.S. government, including the U.S. Intelligence Community, which maintained a close

and longstanding relationship with Dr. Saad and Mr. bin Nayef. Such campaign involved the

removal of those—including Dr. Saad and Mr. bin Nayef—who had both a direct line to senior

U.S. intelligence officials and a wealth of potentially harmful knowledge about Defendant bin

Salman and his affiliates.

       36.     Since assuming the role of Crown Prince after ousting Mr. bin Nayef in 2017,

Defendant bin Salman’s campaign has grown increasingly violent, as he has sought to eliminate

any individuals who posed a threat to his support within the United States. Acting through a

network of agents and front entities—including his personal “charitable” organization, the MiSK

Foundation, senior advisers Defendant Alqahtani, Defendant Alassiri, and Defendant Alasaker,

the Tiger Squad Defendants and the U.S.-Based Covert Agent Defendants—Defendant bin Salman

has carried out multiple extrajudicial killings and attempted extrajudicial killings of those who

could undermine his support in the United States, including of Jamal Khashoggi and Dr. Saad.


7
  Robin Wright, The Saudi Royal Purge—with Trump’s Consent, New Yorker, Nov. 6, 2017,
https://www.newyorker.com/news/news-desk/the-saudi-royal-purge-with-trumps-consent.
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       37.    Defendant bin Salman’s campaign to build U.S. support and eliminate those who

threaten to undermine that support has included several visits to the United States to meet with,

inter alia, government officials and media and corporate executives, including in June 2016,

March 2017, and March 2018.8

Bader Alasaker

       38.    Defendant Bader Alasaker (“Defendant Alasaker”) is a Saudi national who serves

as the head of Defendant bin Salman’s private office and the “Secretary-General” (or Executive

Director) of the MiSK Foundation. On information and belief, through those dual roles, Defendant

Alasaker has cultivated a network of covert agents whom he has deployed to target individuals

who undermine Defendant bin Salman in the United States.

       39.    With respect to Dr. Saad, Defendant Alasaker acted primarily through the MiSK

Foundation, which he used to recruit covert agents to hunt down Dr. Saad in the United States and

determine his whereabouts.

       40.    Defendant Alasaker traveled to the United States on multiple occasions in

connection with his work leading the MiSK Foundation, including but not limited to in June 2014,



8
  Tim Arango, Oprah, Rupert Murdoch, Harvard: Saudi Prince’s U.S. Tour, N.Y. Times, Apr. 6,
2018,      https://www.nytimes.com/2018/04/06/world/middleeast/saudi-prince-mohammed-bin-
salman-us.html; Julie Hirschfeld Davis, Trump Meets Saudi Prince as U.S. and Kingdom Seek
Warmer            Relations,       N.Y.         Times,         Mar.          14,        2017,
https://www.nytimes.com/2017/03/14/world/middleeast/mohammed-bin-salman-saudi-arabia-
trump.html; Press Release, White House, Office of the Press Sec’y, Readout of the President’s
Meeting with Mohammed bin Salman bin Abdulaziz Al Saud, Deputy Crown Prince and Minister
of     Defense      of    the   Kingdom     of     Saudi    Arabia     (June     17,   2016),
https://obamawhitehouse.archives.gov/the-press-office/2016/06/17/readout-presidents-meeting-
mohammed-bin-salman-bin-abdulaziz-al-saud-0.

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May 2015, June 2016, March 2017, August 2017, September 2017, March 2018, and September

2018. 9 Additionally, on information and belief, Defendant Alasaker recently rented or authorized

the rental of residential property under his name in California.

       41.     Defendant Alasaker’s recruitment of agents to hunt down Dr. Saad was a

continuation of the pattern Defendant Alasaker had been deploying for years to cultivate

individuals in the United States instrumental to Defendant bin Salman’s objective of maximizing

power and influence within U.S. government circles and removing any obstacles to doing so.

       42.     For example, upon information and belief, acting at Defendant bin Salman’s

direction, Defendant Alasaker, operating through Defendant MiSK Foundation, coordinated a


9
  Criminal Complaint ¶¶ 27-29, United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
Nov. 5, 2019), ECF No. 1 (describing a June 2014 visit by “Foreign Official-1” [Alasaker] to
Twitter headquarters); id. ¶ 58 (May 2015 visit by “Foreign Official-1” [Alasaker] to Washington,
DC as part of an official delegation from Saudi Arabia); Betsy Morris, How a Former Twitter
Employee Became an Accused Saudi Spy, Wall St. J., Nov. 10, 2019,
https://www.wsj.com/articles/how-a-former-twitter-employee-became-an-accused-saudi-spy-
11573406476 (noting that a person familiar with the case identified “Foreign Official-1” as being
Bader Alasaker); Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter (June 23, 2016, 12:43
PM), https://twitter.com/Badermasaker/status/746020932678987777; Press Release, MiSK
Global Forum, UN & MiSK Sign Historic Agreement for Global Youth Work (Sept. 25, 2018),
https://miskglobalforum.com/embed/; Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter
(June 22, 2016, 12:40 PM ET), https://twitter.com/Badermasaker/status/745657779017375744;
Bader        Al     Asaker       (@badermasaker),        Instagram      (June      25,     2016),
https://www.instagram.com/p/BHF0diFBB1g/; Bader Al Asaker ‫@( بدر العساكر‬Badermasaker),
Twitter               (Mar.            14,              2017,              2:53             PM),
https://twitter.com/Badermasaker/status/841724100599009280; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker),            Twitter      (Sept.         15,        2017,        2:43        PM),
https://twitter.com/Badermasaker/status/908763333079310342; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker),            Twitter       (Mar.         22,        2018,        4:23        PM),
https://twitter.com/Badermasaker/status/976917416151265280;           Bader       Al      Asaker
(@badermasaker), Instagram (Sept. 25, 2018), https://www.instagram.com/p/BoKki7FlbLu/;
‫مبتعث‬     ‫صحيفة‬      (@Mbt3thOnline),      Twitter      (Aug.     5,     2017,      4:04    AM),
https://twitter.com/Mbt3thOnline/status/893744555660627968.

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criminal scheme that involved recruiting, training, and bribing U.S.-based employees of Twitter,

Inc. (“Twitter”) to act as illegal agents and obtain personal and confidential information about

critics of Defendant bin Salman in the United States.10 In or around the spring of 2015, Defendant

bin Salman bragged to Dr. Saad that Defendant bin Salman had “our guy in Twitter” stop someone,

which Dr. Saad understood to mean that Defendant bin Salman had a covert agent inside Twitter

who took action to silence a Twitter user who repeatedly criticized Defendant bin Salman.

Defendant bin Salman mentioned to Dr. Saad that he paid one million Saudi riyal to the agent at

Twitter. The participation of Defendant bin Salman and Defendant Alasaker in this scheme in the

United States is the subject of a criminal indictment brought by the U.S. Department of Justice.11

       43.     Defendant Alasaker also brought pertinent expertise to the table with respect to the

dispatching of a hit squad to extrajudicially kill Dr. Saad. Indeed, he played a significant role in

supporting the killing of Khashoggi in October 2018,12 which the CIA concluded with high




10
   United States v. Abouammo et al., No. 3:19-cr-00621-EMC (N.D. Cal.); Ellen Nakashima &
Greg Bensinger, Former Twitter Employees Charged With Spying for Saudi Arabia by Digging
Into     the   Accounts    of    Kingdom      Critics,   Wash.    Post,    Nov.    6,   2019,
https://www.washingtonpost.com/national-security/former-twitter-employees-charged-with-
spying-for-saudi-arabia-by-digging-into-the-accounts-of-kingdom-critics/2019/11/06/2e9593da-
00a0-11ea-8bab-0fc209e065a8_story.html; see also infra note 86.
11
  See Abouammo, No. 3:19-cr-00621-EMC. On information and belief, Defendant Alasaker’s
conduct is described in the superseding indictment as having orchestrated the criminal conduct
within the United States. He is also referenced in the indictment as the Secretary General of
Defendant bin Salman’s personal charitable foundation, the MiSK Foundation.
12
   See Hannah Lucinda Smith, Saudi Hit Squad Leader ‘Called Crown Prince’s Office’ After
Khashoggi Death, The Times, Oct. 23, 2018, https://www.thetimes.co.uk/article/hit-squad-leader-
called-office-of-crown-prince-fpkgspbs0/.

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confidence was ordered by Defendant bin Salman.13 Members of the Tiger Squad that carried out

that murder made four calls from the Saudi consulate in Istanbul to Defendant Alasaker during the

course of the execution.14

Saud Alqahtani

          44.     Defendant Saud Alqahtani (“Defendant Alqahtani”) is a Saudi national who

served as a top aide to Defendant bin Salman.

          45.     On information and belief, Defendant Alqahtani played a supervisory role in the

attempted extrajudicial killing of Dr. Saad and was involved in overseeing the members of the

Tiger Squad who were dispatched to kill Dr. Saad.

          46.     Like Defendant Alasaker, overseeing the attempted extrajudicial killing of Dr. Saad

was not Defendant Alqahtani’s first foray into the use of torture and extrajudicial killing. He had

demonstrated his willingness and ability to oversee a brutal extrajudicial killing at Defendant bin

Salman’s behest through his role in the Khashoggi murder less than two weeks before the Tiger

Squad Defendants were sent to kill Dr. Saad. According to the U.S. Department of Treasury Office

of Foreign Assets Control (“OFAC”) and the government of the United Kingdom, Defendant




13
     Harris et al., supra note 5.
14
   Smith, supra note 12; Khashoggi Case: All Previous Updates, Al Jazeera, Nov. 22, 2018,
https://www.aljazeera.com/news/2018/10/khashoggi-case-previous-updates-
181017132822079.html.

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Alqahtani participated in the planning and execution of the operation that led to Khashoggi’s

killing,15 and, in fact, supervised the murder in real time over Skype.16

       47.     On information and belief, Defendant Alqahtani served as a member of the board

of directors of the MiSK Foundation, which, as described further herein, Defendants bin Salman

and Alasaker used to recruit covert agents to hunt Dr. Saad in the United States.

       48.     On information and belief, before his Twitter account was permanently disabled for

violations of Twitter’s “platform manipulation policies,”17 Defendant Alqahtani published a tweet

stating explicitly that all of his actions and activities—presumably including extrajudicial killing—

are carried out at the direction of Defendant bin Salman: “Do you think I’m acting on my own

whim? I am a civil servant and a faithful executioner of the orders of the King and the Crown

Prince.”18




15
   Press Release, U.S. Dep’t of the Treasury, Treasury Sanctions 17 Individuals for Their Roles in
the Killing of Jamal Khashoggi (Nov. 15, 2018), https://home.treasury.gov/news/press-
releases/sm547; UK Sanctions Saudis, Russians Under New Magnitsky Powers, Al Jazeera, July
6, 2020, https://www.aljazeera.com/ajimpact/uk-sanctions-saudis-russians-magnitsky-powers-
200706165359282.html.
16
   How the Man Behind Khashoggi Murder Ran the Killing Via Skype, Reuters, Oct. 22, 2018,
https://www.reuters.com/article/us-saudi-khashoggi-adviser-insight/how-the-man-behind-
khashoggi-murder-ran-the-killing-via-skype-idUSKCN1MW2HA.
17
  Hadas Gold, Twitter Suspends Account of Former Adviser to Saudi Arabia’s Crown Prince,
CNN, Sept. 20, 2019, https://www.cnn.com/2019/09/20/tech/twitter-suspends-accounts-saudi-al-
qahtani/index.html.
18
      See   Transcript,    The    Crown       Prince   of   Saudi     Arabia,    FRONTLINE,
https://www.pbs.org/wgbh/frontline/film/the-crown-prince-of-saudi-arabia/transcript/ (translation
from original Arabic language tweet as reflected in PBS documentary).

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       49.     Defendant Alqahtani has engaged several Washington, D.C.-based public relations

firms in connection with lobbying activities in the United States. For example, Defendant

Alqahtani engaged one firm in this District in or around March 2016 to communicate information

about the Royal Court to “relevant US audiences”19 and another firm in this District in or around

September 2016 for “advice and advocacy on foreign policy and related issues in the U.S.

Government.”20 Defendant Alqahtani personally signed agreements with these U.S. lobbying

firms, all located in the District of Columbia.

       50.     Defendant Alqahtani was reportedly removed from his role as an advisor to

Defendant bin Salman on October 20, 2018—the same day the Saudi Ministry of Foreign Affairs

acknowledged for the first time its responsibility for the Khashoggi murder.21

Ahmed Alassiri

       51.     Defendant Ahmed Alassiri (“Defendant Alassiri”) is a Saudi national who served

as the Deputy Intelligence Chief for Saudi Arabia’s principal intelligence agency, the General

Intelligence Presidency, from approximately April 2017 to on or around October 19, 2018. He is

a close personal confidant and advisor to Defendant bin Salman.




19
   Exhibit A to Registration Statement Pursuant to the Foreign Agents Registration Act of 1938,
as amended, of BGR Government Affairs, at 4 (Mar. 15, 2016).
20
   Exhibit A to Registration Statement Pursuant to the Foreign Agents Registration Act of 1938,
as amended, of Squire Patton Boggs (US) LLP, at 4 (Sept. 20, 2016).
21
   Who Is Saud al-Qahtani, the Fired Saudi Royal Court Adviser?, Al Jazeera, Oct. 20, 2018,
https://www.aljazeera.com/news/2018/10/saud-al-qahtani-fired-saudi-royal-court-adviser-
181020125449478.html.
                                                  19
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          52.    On information and belief, Defendant Alassiri played a supervisory role in the

attempted extrajudicial killing of Dr. Saad and was involved in overseeing the members of the

Tiger Squad who traveled to Canada to kill Dr. Saad.

          53.    Like Defendants Alasaker and Alqahtani, Defendant Alassiri had previously

supervised and directed the Tiger Squad in carrying out other covert extrajudicial killings of

Defendant bin Salman’s targets, including Khashoggi.

          54.    On or around October 19, 2018, Defendant Alassiri was terminated in his role as

the Saudi Deputy Intelligence Chief, apparently in an effort to divert blame from Defendant bin

Salman for the Khashoggi killing.22

MiSK Foundation

          55.    Defendant Prince Mohammed Bin Salman bin Abdulaziz Foundation, also known

as the MiSK Foundation (“MiSK”), holds itself out as a non-profit foundation founded by

Defendant bin Salman in his personal capacity. Defendant Alasaker is the Secretary-General (or

Executive Director) of the MiSK Foundation.

          56.     MiSK describes its mission as “cultivat[ing] and encourag[ing] learning and

leadership in youth for a better future in Saudi Arabia.”23 In reality, upon information and belief,

MiSK has served and continues to serve as a front for Defendant bin Salman and Defendant




22
   Who Is Ahmed al-Asiri, the Sacked Saudi Intelligence Official?, Al Jazeera, Oct. 20, 2018,
https://www.aljazeera.com/news/2018/10/ahmed-al-asiri-sacked-saudi-intelligence-chief-
181019235211120.html.
23
     About MiSK, MiSK Found., https://misk.org.sa/en/about-misk/ (last visited July 12, 2020).
                                                 20
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Alasaker’s initiatives to cultivate a network of agents willing to carry out sensitive operations,

including the hunting of Dr. Saad in the United States.

       57.     For example, on information and belief, Defendant MiSK employed Defendant

Youssef Alrajhi and Defendant Layla Abuljadayel, each of whom were involved in the hunt for

Dr. Saad in the United States prior to the Tiger Squad’s October 2018 travel to Canada. Further,

on information and belief, Defendants Mohammed Alhamed and Abuljadayel were tapped as

covert agents to hunt Dr. Saad after they participated in a “leadership preparation” program for

students organized by MiSK in Boston, Massachusetts, in 2016 and 2017.

       58.     Defendant MiSK has carried out extensive activities in the United States. As

described more fully below, it routinely hosts events in the United States designed to recruit

operatives who can pursue Defendant bin Salman’s objectives.

U.S.-Based Covert Agent Defendants

       59.     Acting at the direction of Defendant bin Salman and relying largely on Defendant

MiSK Foundation as a front, Defendant Alasaker recruited and organized a network of agents in

the United States and deployed these individuals (the “U.S.-Based Covert Agent Defendants”),

identified in the paragraphs that immediately follow, to hunt down and locate Dr. Saad and his

family—ultimately in furtherance of his extrajudicial killing—in and around September 2017.24




24
  As discussed in more detail above and below, in doing so, Defendants bin Salman and Alasaker
were following a familiar pattern of reaching across borders into the United States to deploy covert
agents with the aim of removing or suppressing purported critics. See supra ¶ 42; infra note 86.
Indeed, Defendants bin Salman and Alasaker orchestrated a similar scheme—one that is now the
subject of a criminal indictment—in 2015. See infra note 86.

                                                21
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          60.   Defendant Youssef Alrajhi (“Defendant Alrajhi”) is a Saudi national who resides

in the Washington, D.C. metropolitan area. On information and belief, he is a Ph.D. candidate in

the Microbiology Department at Howard University, located in Washington, D.C., who has

published articles on topics such as human identification using DNA evidence.25 Acting at the

direction of Defendants bin Salman and Alasaker, Defendant Alrajhi took steps to track Dr. Saad

in the United States, including interrogating an Aljabri family friend about the location and contact

information of Dr. Saad’s wife, and subsequently traveling from Washington, D.C. to Boston,

Massachusetts to meet with Dr. Saad’s son under false pretenses to locate Dr. Saad and further

Defendant bin Salman’s effort to harm him.

          61.   On information and belief, Defendant Alrajhi works or has worked for Defendant

MiSK Foundation, through which he was recruited for the effort to hunt Dr. Saad in the United

States.    He has been active in MiSK events, including participating in a MiSK-sponsored

Leadership Development Program at Harvard University from June to August 2015.26

          62.   In addition, Defendant Alrajhi is connected to and regularly retweets and replies to

other Defendants on Twitter, including other U.S.-Based Covert Agent Defendants, Defendant

Alasaker, and the MiSK Foundation.27


25
  Yousef Alrajhi, Establishing Human Identification by Short Tandem Repeat (STR) and
Mitochondrial DNA (mtDNA), 4 Int’l J. of Bioinformatics & Biomedical Engineering 1, 1 (2018).
26
    Youssef Alrajhi (@Youseef ALrajhi), Facebook (July 31, 2015, 8:28 PM),
https://www.facebook.com/photo?fbid=600340843402632&set=pb.100002801647318.-
2207520000; First Saudi En (@First1Saudi_EN), Twitter (Aug. 3, 2015, 12:06 AM),
https://twitter.com/First1Saudi_EN/status/628054210936868864.
27
  For example, Defendant Alrajhi regularly retweets Defendant Alhamed and Defendant
Abuljadayel, including in and around the September 2017 hunt for Dr. Saad. See, e.g., Youssef

                                                 22
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       63.     Defendant Mohammed Alhamed (“Defendant Alhamed”) is a Saudi national and

the founder and president of Saudi Elite Group (“Saudi Elite”), an organization focused on

promoting Defendant bin Salman’s plan for economic and social reform that also employs

Defendant Layla Abuljadayel. Defendant bin Salman serves as Chairman of the Board of Directors

of Saudi Elite’s partner and project sponsor, the Royal Commission of Al-Ula.28 Saudi Elite

depends on partnerships with Saudi government agencies to maintain the organization’s viability.29

According to his Twitter profile, Defendant Alhamed is based in Washington, D.C. and Riyadh,

Saudi Arabia.30




Alrajhi       (@YousefAlrajhi),        Twitter     (Oct.     7,     2017,     8:01      AM),
https://twitter.com/YousefAlrajhi1/status/916634587517849600;          Mohammed AlHamed
(@M7Alhamed),             Twitter        (Sept.      14,        2017,      11:03        AM),
https://twitter.com/M7Alhamed/status/908345550688448512 ; Layla Abuljadayel ‫ليلى ابوالجدايل‬
(@drlaylaaj),         Twitter               (Sept.       13,      2017,      8:01        PM),
https://twitter.com/drlaylaaj/status/908118495531020290;          Mohammed          AlHamed
(@M7Alhamed),             Twitter         (Aug.       22,        2017,      9:57         PM),
https://twitter.com/M7Alhamed/status/900175029962493952;           Mohammed         AlHamed
(@M7Alhamed),              Twitter        (Aug.        8,       2017,       4:20         PM),
https://twitter.com/M7Alhamed/status/895016804267028481. Defendant Alrajhi also retweeted a
flattering photograph of Defendant bin Salman with a heart emoticon on October 24, 2018, soon
after the Khashoggi killing. ‫@( سعود بن سلمان‬HRHPSAUDS), Twitter (Oct. 24, 2018, 11:41 AM),
https://twitter.com/HRHPSAUDS/status/1055122085352271872.
28
  About RCU, Royal Commission for Al Ula, https://www.rcu.gov.sa/en/about-us/about-rcu/ (last
visited July 29, 2020); Saudi Elite, http://saudielite.org/ (last visited July 29, 2020).
29
  Saudi Elite Group Organization Launches Global Language Initiative, Levant News (July
2020), https://the-levant.com/saudi-elite-group-organization-launches-global-language-initiative/.
30
  Mohammed AlHamed (@M7Alhamed), Twitter, https://twitter.com/M7Alhamed (last visited
July 17, 2020).

                                               23
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       64.    Acting at the direction of Defendants bin Salman and Alasaker, Defendant

Alhamed, acting under false pretenses, sought to extract information about the whereabouts of Dr.

Saad’s wife from Aljabri family friends in Boston, Massachusetts.

       65.    On information and belief, shortly thereafter, Defendant Alhamed was rewarded by

Defendant bin Salman with support for his organization Saudi Elite and employment with the

Saudi American Public Relation Affairs Committee.

       66.    Defendant Alhamed participated in MiSK events in Washington, D.C. and Boston,

Massachusetts from at least May 2015 through September 2017, and “work[ed] with” a MiSK

program in 2017, through which, upon information and belief, he was recruited for the hunt to

locate Dr. Saad in the United States.31 Additionally, Defendant Alhamed is connected to and

regularly retweets, replies to, and mentions other Defendants on Twitter, including other U.S.-

Based Covert Agent Defendants, Defendant Alasaker, and the MiSK Foundation.32


31
       Mohammed        Alhamed       (@m7alhamed), Instagram   (Aug.     13,    2017),
http://www.instagram.com/p/BXuifHVB7VX/ (quotation professionally translated from the
original Arabic language post on Instagram).
32
   For example, from May 2017 through at least May 2020, Defendant Alhamed regularly
retweeted, mentioned, and replied to Defendant Abuljadayel. See, e.g., Mohammed AlHamed
(@M7Alhamed),            Twitter        (Aug.        29,        2017,        7:32       PM),
https://twitter.com/M7Alhamed/status/902675299925680130;           Mohammed         AlHamed
(@M7Alhamed),            Twitter        (May         20,        2017,       3:48        AM),
https://twitter.com/M7Alhamed/status/865836509030731780. Defendant Alhamed has been
pictured with Defendant Abuljadayel as early as 2014. Mohammed AlHamed (@m7alhamed),
Instagram (Nov. 23, 2014), https://www.instagram.com/p/vweih4LCwN/. He was pictured with
Defendant Alrajhi at an event in Washington, D.C. in October 2016. Mohammed Alhamed
(@m7alhamed), Instagram (Oct. 23, 2016), https://www.instagram.com/p/BLh2lbjhrfW/.
Likewise, he posted an article in September 2016, which quoted both him and Defendant Alrajhi.
Mohammed AlHamed (@M7Alhamed), Twitter (Sept. 23, 2016, 1:59 PM),
https://twitter.com/M7Alhamed/status/779379796128239616. According to social media posts,
Defendant Alhamed also met Defendant Alasaker at MiSK Foundation events in at least August

                                               24
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       67.    On information and belief, in January 2018, soon after Defendant Alhamed

provided assistance to Defendant bin Salman and Defendant Alasaker in the form of hunting Dr.

Saad, Defendant Alhamed was rewarded with support for his organization Saudi Elite, which

supports Defendant bin Salman’s policy agenda, and employment with the Saudi American Public

Relation Affairs Committee, a District of Columbia-based public relations firm focused on the

United States-Saudi Arabia relationship.33

       68.    Defendant Layla Abuljadayel (“Defendant Abuljadayel”) is a Saudi national and

a 2017 graduate of the Boston University School of Dental Medicine. On information and belief,

Defendant Abuljadayel resided in or around Boston, Massachusetts during times relevant to the

allegations contained herein. Acting at the direction of Defendants bin Salman and Alasaker,

Defendant Abuljadayel sought to extract information about the whereabouts of Dr. Saad’s wife

from Dr. Saad’s son Khalid’s wife in Boston.

       69.    Notwithstanding her dental training, Defendant Abuljadayel serves as “Head of

International Communications” at Saudi Elite, the organization allied with Defendant bin Salman




2017 and September 2017, where Defendant Alasaker further cultivated Defendant Alhamed for
the hunt for Dr. Saad in the United States. Mohammed AlHamed (@M7Alhamed), Twitter (Sept.
18, 2017, 2:40 AM), https://twitter.com/M7Alhamed/status/909668394743554052; Mohammed
AlHamed          (@M7Alhamed),         Twitter    (Aug.   8,      2017,     4:20     PM),
https://twitter.com/M7Alhamed/status/895016804267028481.
33
  This pattern of rewarding agents with positions in organizations affiliated with Defendant bin
Salman is consistent with Defendants bin Salman’s and Alasaker’s actions in the scheme to recruit
Twitter employees as agents, where they rewarded an agent, once discovered and returned to Saudi
Arabia, with a position at Defendant MiSK Foundation, identified as “Organization-1.”
Superseding Indictment ¶ 26(u), United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
July 28, 2020), ECF No. 53.

                                               25
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that is run by Defendant Alhamed.34 On information and belief, Defendant Abuljadayel has been

paid for work for the MiSK Foundation and supported its programming in the United States,

through which she was recruited for the effort to hunt Dr. Saad in the United States. 35 Defendant

Abuljadayel is connected to and regularly retweets and replies to other Defendants on Twitter,

including other U.S.-Based Covert Agent Defendants, Defendant Alasaker, and the MiSK

Foundation. 36

       70.       Defendant John Doe 1, whose exact name and identity are, despite diligent efforts,

presently unknown, conducted physical surveillance of a family apartment of Dr. Saad at the

Mandarin Oriental in Boston, Massachusetts in or around September 2017, and attempted to access




34
  Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter, https://twitter.com/drlaylaaj (last visited
July 29, 2020).
35
        ‫مبتعث‬     (@Mbt3thOnline),       Twitter   (Aug.    5,            2017,       4:04      AM),
https://twitter.com/Mbt3thOnline/status/893744555660627968.
36
   For example, Defendant Abuljadayel promoted the MiSK Foundation in at least six separate
tweets from July through November 2017, and in July 2017 she tweeted an image thanking
Defendant bin Salman and Defendant Alasaker on behalf of the students of MiSK “for all that
MiSK has provided.” See, e.g., Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter (Nov. 15,
2017, 8:52 AM), https://twitter.com/drlaylaaj/status/927171805332328448; Layla Abuljadayel
‫ابوالجدايل‬    ‫ليلى‬     (@drlaylaaj),      Twitter     (Sept.     22,    2017,     7:25     PM),
https://twitter.com/drlaylaaj/status/911370821154885632;         Layla      Abuljadayel      ‫ليلى‬
‫ابوالجدايل‬       (@drlaylaaj),      Twitter       (Aug.      23,      2017,      4:43     AM),
https://twitter.com/drlaylaaj/status/900277411190898688; ‫@( صحيفة مبتعث‬Mbt3thOnline), Twitter
(Aug. 5, 2017, 4:04 AM), https://twitter.com/Mbt3thOnline/status/893744555660627968; Layla
Abuljadayel ‫ليلى ابوالجدايل‬        (@drlaylaaj), Twitter (July 23, 2017, 8:43 PM),
https://twitter.com/drlaylaaj/status/889284841669357568; ‫@( مبادرات مسك الخيرية‬MiSKinitiatives),
Twitter               (Aug.              4,             2017,            10:51            AM),
https://twitter.com/MiSKinitiatives/status/893665621325623301; Layla Abuljadayel ‫ليلى ابوالجدايل‬
(@drlaylaaj),           Twitter         (July         23,         2017,        9:00        PM),
https://twitter.com/drlaylaaj/status/889289115904225281. In addition, on information and belief,
Defendant Abuljadayel’s husband Abdulraheem al-Wafi has also been paid for work for the MiSK
Foundation and served as its student activity supervisor.
                                                 26
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Dr. Saad’s residence there during this time. John Doe 1’s surveillance effort began only after

Defendant Alrajhi came to believe, as a result of his efforts to extract information from sources in

the United States (as described in paragraph 169), that Dr. Saad lived in the Mandarin Oriental in

Boston, Massachusetts. On information and belief, the Federal Bureau of Investigation has

investigated the identity and activities of Defendant John Doe 1.

       71.     Defendant Bijad Alharbi (“Defendant Alharbi”) is a Saudi national and former

founding chairman of the Technology Control Company, through which he formed a close

relationship with Dr. Saad and other officials in the Saudi Ministry of Interior. Using that close

association as cover, Defendant Alharbi—acting at the direction of Defendant bin Salman—took

steps to track Dr. Saad in the United States, including traveling to Boston, Massachusetts, to meet

with Dr. Saad’s son and extract information about Dr. Saad, and subsequently traveling to Toronto

to meet with Dr. Saad himself in order to confirm his location and convince him to travel to Turkey,

where he could be more easily accessed by Defendant bin Salman.

Tiger Squad Defendants

       72.     The “Tiger Squad,” or “Firqat el-Nemr,” is a private death squad made up of

approximately 50 intelligence, military, and forensic operatives recruited from different branches

of the Saudi government with one unifying mission: loyalty to the personal whims of Defendant

bin Salman. Its members have carried out numerous covert killings and attempted killings at

Defendant bin Salman’s behest. Members of the Tiger Squad possess a variety of experience and

expertise relevant to locating and executing a target and covering up the murder. The Tiger

Squad’s activities are directed and supervised by Defendant bin Salman, Defendant Alqahtani, and

Defendant Alassiri, and supported by Defendant Alasaker.
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       73.     Defendant bin Salman formed the Tiger Squad as a personal hit team in or around

September 2015—the same month that Dr. Saad was terminated from the Saudi government. The

Tiger Squad was created only after Dr. Saad refused Defendant bin Salman’s request to deploy the

Mabahith—then still part of the Ministry of Interior controlled by Mr. Bin Nayef and Dr. Saad—

in an extrajudicial operation of retribution against a Saudi prince living in Europe who criticized

Defendant bin Salman’s father on social media. Defendant bin Salman showed online criticism

made by the Saudi prince to Dr. Saad and demanded the Mabahith—then a counterterrorism

agency—forcibly render the prince from Europe to Saudi Arabia in order to halt public criticism

of the Saudi government.      Dr. Saad refused to support Defendant bin Salman’s proposed

extraterritorial rendition because it was immoral, unlawful, and would damage Saudi Arabia’s

interests in Europe and other western countries. Without the ability to call upon the Mabahith to

carry out his personal vendetta, Defendant bin Salman created the so-called “Tiger Squad”—a

team of loyal operatives from disparate Saudi government agencies—who were willing to do as

they were told. The newly-created Tiger Squad kidnapped the prince via private jet and rendered

him back to Saudi Arabia, where he was tortured at the hands of Defendant Alqahtani.37 Defendant

bin Salman and Defendant Alqahtani subsequently bragged that they were able to accomplish

Defendant bin Salman’s objective even without the support of official ministries, including the

Ministry of the Interior.




37
    See Reda El Mawy, Saudi Arabia’s Missing Princes, BBC, Aug. 16, 2017,
https://www.bbc.com/news/magazine-40926963.
                                                28
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          74.   Since then, upon information and belief, the Tiger Squad has been used to carry

out numerous personal vendettas of Defendant bin Salman, including having abducted additional

Saudi royals; poisoned a judge who expressed opposition to Defendant bin Salman’s Vision 2030

economic plans; tortured and sodomized a religious cleric using a broomstick; and personally

tortured, executed and dismembered Jamal Khashoggi in the Saudi consulate in Istanbul in October

2018.38

          75.   As described more fully below, acting at the direction of Defendant bin Salman,

Defendant Alqahtani, and Defendant Alassiri, and with the support of Defendant Alasaker, the

members of the Tiger Squad identified in the following paragraphs were assembled to kill Dr.

Saad, obtained Canadian tourist visas in May 2018 for the purpose of killing Dr. Saad (except for

the team member who held a diplomatic passport), and some of the Tiger Squad members in fact

traveled to Canada in October 2018 in an attempt to kill Dr. Saad.

          76.   Considering the nature of the Tiger Squad, the composition of the team assembled

to kill Dr. Saad, and the purposes for which its members had been deployed in the past, these Tiger

Squad Defendants knew precisely what they were doing when they prepared to kill Dr. Saad.

Indeed, on information and belief, they knew Defendant bin Salman sought to consolidate power

and remove perceived obstacles to his legitimacy in the United States, particularly among top-

ranking U.S. intelligence officials. On information and belief, the Tiger Squad Defendants also



38
   See, e.g., ‫ من هم ضحايا "فرقة النمر" الخاصة السعودية؟‬:‫صحيفة روسية‬, Al Jazeera, Nov. 11, 2018,
https://www.aljazeera.net/news/presstour/2018/11/4/%D8%B5%D8%AD%D9%8A%D9%81%
D8%A9-%D8%B1%D9%88%D8%B3%D9%8A%D8%A9-%D9%85%D9%86-
%D9%87%D9%85-%D8%B6%D8%AD%D8%A7%D9%8A%D8%A7-
%D9%81%D8%B1%D9%82%D8%A9-%D8%A7%D9%84%D9%86%D9%85%D8%B1.
                                                29
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knew that Dr. Saad was a significant partner of the U.S. Intelligence Community and that he

possessed highly sensitive information about Defendant bin Salman—and in turn, that Dr. Saad

posed a threat to Defendant bin Salman’s objectives. Further, they knew that their mission was to

extrajudicially kill Dr. Saad.

          77.    Defendant Mishal Fahad Alsayed (“Defendant Alsayed”) is a Saudi national and

a member of the Tiger Squad. On information and belief, Defendant Alsayed is regularly

employed as a senior forensic DNA technician in the General Department of Criminal Evidence

at the Ministry of Interior at the rank of lieutenant colonel. Defendant Alsayed also has taught on

the subject of victim identification following a natural disaster at the Naif Arab University for

Security Sciences University in Riyadh, Saudi Arabia.39 In an academic course focused on

collecting and identifying “dead bodies and body parts from disasters,” Defendant Alsayed served

on the academic panel alongside Dr. Salah Mohammed Tubaigy, who used a bone saw to

dismember Khashoggi.40 On information and belief, Defendant Alsayed traveled to Canada in

October 2018 in an attempt to kill Dr. Saad.




39
   Naif Arab University for Security Sciences, College of Forensic Sciences, Laboratory Course
Guide: Laboratory Techniques in the Examination of Disaster Victims at 11 (Feb. 2016),
https://repository.nauss.edu.sa/bitstream/handle/123456789/63548/%D8%A7%D9%84%D8%A
A%D9%82%D9%86%D9%8A%D8%A7%D8%AA%20%D8%A7%D9%84%D9%85%D8%AE
%D8%A8%D8%B1%D9%8A%D8%A9%20%D9%81%D9%8A%20%D8%A7%D9%84%D9%
83%D8%B4%D9%81%20%D8%B9%D9%86%20%D8%B6%D8%AD%D8%A7%D9%8A%D
8%A7%20%D8%A7%D9%84%D9%83%D9%88%D8%A7%D8%B1%D8%AB.pdf?sequence=
3&isAllowed=y (title and quotation professionally translated from the Arabic language syllabus).
40
     Id. at 13–14 (quotation translated from the Arabic language syllabus).

                                                  30
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       78.     Defendant Khalid Ibrahim Abdulaziz Algasem (“Defendant Algasem”) is a

Saudi national and a member of the Tiger Squad. On information and belief, he is regularly

employed as a Forensic DNA Technician in the General Department of Criminal Evidence at the

Ministry of Interior. On information and belief, Defendant Algasem traveled to Canada in October

2018 in an attempt to kill Dr. Saad.

       79.     Defendant Saud Abdulaziz Alsaleh (“Defendant Alsaleh”) is a Saudi national and

a member of the Tiger Squad. On information and belief, Defendant Alsaleh is regularly employed

as a senior military intelligence officer in the Intelligence Department of the Ministry of Defense.41

On information and belief, Defendant Alsaleh served as a coordinator or leader of the Tiger Squad

Defendants.

       80.     Defendant Bandar Saeed Alhaqbani (“Defendant Alhaqbani”) is a Saudi national

and a member of the Tiger Squad. On information and belief, Defendant Alhaqbani is regularly

employed by the Ministry of Interior in Riyadh, Saudi Arabia. On information and belief,

Defendant Alhaqbani traveled to Canada in October 2018 in an attempt to kill Dr. Saad.

       81.     Defendant Ibrahim Hamad Abdulrahman Alhomid (“Defendant Alhomid”) is a

Saudi national and a member of the Tiger Squad. On information and belief, Defendant Alhomid

is regularly employed by the Ministry of Foreign Affairs in Riyadh, Saudi Arabia. On information

and belief, Defendant Alhomid traveled to Canada in October 2018 in an attempt to kill Dr. Saad.




41
  For example, in 2019, Defendant Alsaleh attended a program for “senior military officers” in
the Asia-Pacific region hosted by the Nanyang Technical University in Singapore. See 21st Asia
Pacific Programme for Senior Military Officers (APPSMO), Nanyang Technological U. Sing. 55
(2019), https://www.rsis.edu.sg/wp-content/uploads/2019/12/ER191204_APPSMO-2019.pdf.
                                                 31
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       82.     Defendant John Does 2-11 are Saudi nationals and members of the Tiger Squad

who—in addition to Defendants Alsayed, Algasem, Alsaleh, Alhaqbani, and Alhomid—took

actions for the purpose of extrajudicially killing Dr. Saad. Their exact names and identities, and

the precise number of such John Does, are, despite diligent efforts, presently unknown to Plaintiff

Dr. Saad.




                                                32
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       83.     The following chart depicts each Defendant’s role in the attempted extrajudicial

killing of Dr. Saad:




       The Defendants and their Role in the Attempted Extrajudicial Killing of Dr. Saad




                                              33
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                                 JURISDICTION AND VENUE

       84.     This Court has subject matter jurisdiction over this action under 28 U.S.C. § 1331

because the action arises under the Torture Victim Protection Act (“TVPA”), Pub. L. No. 102-256,

106 Stat. 73 (1992) (codified at 28 U.S.C. § 1350 et seq.), and the Alien Tort Statute (“ATS”), 28

U.S.C. § 1350. The Court has supplemental jurisdiction over Dr. Saad’s common law claim under

28 U.S.C. § 1367.

       85.     The exercise of subject matter jurisdiction over Dr. Saad’s claim under the ATS is

proper because the conduct giving rise to his claim touches and concerns the United States. Indeed,

Defendant bin Salman’s attempt to extrajudicially kill Dr. Saad involved substantial conduct inside

the United States, including deploying covert agents who resided in the United States to hunt him

down and plotting to reach Dr. Saad in Canada through travel within the United States and across

the United States’ border with Canada. Further, the conduct was aimed at the United States insofar

as it was designed to remove a crucial partner to the U.S. Intelligence Community and maximize

Defendant bin Salman’s standing with and support from top U.S. government officials.

       86.     The exercise of personal jurisdiction over Defendant bin Salman, Defendant

Alasaker, Defendant Alqahtani, Defendant Alassiri, Defendant Alharbi, Defendant Alrajhi,

Defendant Alhamed, Defendant Abuljadayel, Defendant John Doe 1, and the Tiger Squad

Defendants for purposes of Dr. Saad’s claims under the TVPA and ATS is proper pursuant to

Federal Rule of Civil Procedure 4(k)(2) because these Defendants engaged in intentional, tortious

conduct directed at the United States, and this action arises out of that conduct.

       87.     In particular, Defendant bin Salman attempted to extrajudicially kill Dr. Saad

because of his longstanding close and trusted partnership with the U.S. Intelligence Community.
                                                 34
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The attempt to extrajudicially kill Dr. Saad is intended to eliminate the U.S. Intelligence

Community’s access to a deeply knowledgeable source about issues central to the national security

of the United States, a source who could use his knowledge to undermine Defendant bin Salman’s

influence and support from the Trump White House. Dr. Saad’s knowledge extends to Defendant

bin Salman’s creation of the Tiger Squad and its use of extrajudicial killings and torture (including

activities carried out within the territory of close U.S. allies); Defendant bin Salman’s covert

political scheming within the Royal Court, including attempts to harm other royals; and Defendant

bin Salman’s communications with foreign governments, including U.S. adversaries.

       88.     Dr. Saad established a close partnership with the U.S. Intelligence Community

through counterterrorism operations that have been crucial to U.S. national security. In the years

since the horrific terrorist attacks on September 11, 2001, the United States has invested

tremendous resources into creating and building a homeland security and counterterrorism

apparatus designed to protect American lives and advance U.S. interests.42 A core part of this

counterterrorism architecture has been premised on strategic partnerships with foreign

governments and security agencies, and Saudi Arabia represented perhaps the single most

important partner in this effort.43 Dr. Saad himself, as a leader of Saudi Arabia’s counterterrorism




42
  Julia Donheiser, The United States Has Spent At Least $2.8 Trillion on Counterterrorism Since
9/11 (May 18, 2018), https://publicintegrity.org/national-security/the-united-states-has-spent-at-
least-2-8-trillion-on-counterterrorism-since-9-11/.
43
   Daniel Byman, The U.S.-Saudi Arabia Counterterrorism Relationship, Brookings (May 24,
2016),           https://www.brookings.edu/testimonies/the-u-s-saudi-arabia-counterterrorism-
relationship/.

                                                 35
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apparatus, was that partner.44 Thus, the attempt to extrajudicially kill Dr. Saad is designed to end

the U.S. Intelligence Community’s access to a uniquely knowledgeable partner vital to U.S.

national security, and in turn, to eliminate any threat posed to Defendant bin Salman by virtue of

that partnership.

       89.      The Defendants acted in concert, at the direction of Defendant bin Salman, to

achieve this objective aimed at the United States. On information and belief, each Defendant was

well aware of Defendant bin Salman’s desire to maximize his support from top U.S. government

officials, and to remove anyone that stood in his way; each Defendant also knew that Dr. Saad, by

virtue of his unique access to the Saudi Royal Court and partnership with the U.S. Intelligence

Community forged through years of counterterrorism efforts, was viewed by Defendant bin

Salman as posing perhaps the most significant obstacle.

       90.      Additionally, Defendant bin Salman’s attempt to extrajudicially kill Dr. Saad has

included significant physical conduct within the United States. For example:

             a. Defendants hosted events and programs in the United States through Defendant bin

                Salman’s personal charitable foundation, the MiSK Foundation, with aims that

                included cultivating a network of covert agents to hunt down Dr. Saad. These

                events included: a MiSK Leadership Development Program at Harvard University

                in Boston, Massachusetts in August 2016, in which Defendants Abuljadayel and

                Alhamed participated; a MiSK Leadership Development Program at Harvard

                University in Boston, Massachusetts in August 2017, at which Defendants


44
  Frank Gardner, Family of Exiled Top Saudi Officer Saad Al-Jabri ‘Targeted’, BBC, May 25,
2020, https://www.bbc.com/news/world-middle-east-52790864.
                                                36
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              Abuljadayel and Alhamed worked, and the closing ceremonies of which Defendant

              Alasaker attended; a MiSK-United Nations Development Program event in New

              York, New York, in September 2017, which Defendants Alhamed and Alasaker

              attended; a series of “MiSK Talks” in March and April 2018, in Washington, D.C.,

              New York, New York, Los Angeles, California, San Francisco, California, and

              Houston, Texas; a “New York Arab Art Festival” in October and November 2018

              consisting of a citywide program in collaboration with New York City-area cultural

              institutions; and a December 2018 program in which Saudi artists traveled between

              San Francisco, California, Yosemite National Park, and Los Angeles, California.45


45
   Beyond events to recruit and cultivate potential agents for Defendant bin Salman in the United
States, Defendant MiSK Foundation also transacted significant business in the United States,
which furthered its platform and legitimacy in the United States. For example, Defendant MiSK
Foundation entered into partnerships with the Massachusetts Institute of Technology, U.S.
technology firm Virgin Hyperloop One, and financial information company Bloomberg. See Press
Release, Bloomberg, Misk Foundation and Bloomberg Collaborate on Education Initiatives to
Support        the      Advancement       of      Saudi       Youth      (Apr.     9,      2019),
https://www.bloomberg.com/company/press/misk-training-youth/;             MiSK        Foundation
Collaborates       With    MIT     Media      Lab,     MiSk     Found.     (Apr.   23,     2017),
https://misk.org.sa/en/blog/misk-foundation-collaborates-mit-media-lab/; Press Release, Virgin
Hyperloop, Vision 2030 Commitment Continues in the Kingdom as MISK and Virgin Hyperloop
One Create New Program To Train Saudi Engineers (Feb. 21, 2018),
https://virginhyperloop.com/press/misk-program. Additionally, during a June 2016 visit to the
United States, Defendant bin Salman signed a cooperation agreement with the Bill and Melinda
Gates Foundation on behalf of Defendant MiSK Foundation. Saudi Arabia’s Misk Foundation
Inks Deal With Bill Gates for Charity, Al Arabiya, June 26, 2016,
https://english.alarabiya.net/en/News/middle-east/2016/06/26/Saudi-Arabia-s-MiSK-Foundation-
inks-deal-with-Bill-Gates-for-charity.html. After Khashoggi’s killing was inescapably linked to
Defendant bin Salman, many of these partnerships with Defendant MiSK Foundation fell apart,
including those with the Gates Foundation and Virgin Hyperloop. Nicolas Parasie, Gates
Foundation Suspends Future Work With Saudi Crown Prince’s Charity, Wall St. J., Nov. 1, 2018,
https://www.wsj.com/articles/gates-foundation-suspends-future-work-with-saudi-crown-princes-
charity-1541076176; Saudi Arabia Cancels Hyperloop Deal in Response to Branson’s Khashoggi

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          b. Defendant bin Salman’s brother, Khalid bin Salman, attempted to extract

              information from Dr. Saad’s son Khalid in Boston, Massachusetts regarding Dr.

              Saad’s location in an attempt to locate Dr. Saad while he was in the United States.

          c. Mohammed Alessa, acting at the direction of Defendant bin Salman, attempted to

              extract information from an Aljabri family friend at a MiSK-sponsored event in

              New York, New York regarding Dr. Saad’s location.

          d. Defendant Alrajhi, based in the Washington, D.C. metropolitan area, attempted to

              extract information from an Aljabri family friend located in Boston, Massachusetts

              about Dr. Saad’s location.

          e. Defendant Alrajhi demanded a meeting with the Aljabri family friend and offered

              to fly from Washington, D.C. to Boston, Massachusetts to meet, all in an effort to

              obtain Dr. Saad’s location.

          f. Defendant Alhamed, based in the Boston, Massachusetts metropolitan area,

              contacted an Aljabri family friend to persuade him to take a meeting with Defendant

              Alrajhi. Defendant Alhamed’s reward for his work included a position at the Saudi

              American Public Relation Affairs Committee, based in Washington, D.C.




Protest,         Global       Construction       Rev.,          Oct.        18,        2018,
https://www.globalconstructionreview.com/news/saudi-arabia-cancels-hyperloop-deal-response-
brans/. Upon information and belief, in 2018 Defendant MiSK Foundation also filed an
application for the name “MiSK Foundation of America” to be reserved with the Texas Secretary
of State.
                                              38
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  g. Defendant Alrajhi flew from his home in Washington, D.C. to Boston,

     Massachusetts to meet with Dr. Saad’s son Khalid and attempt to extract

     information about Dr. Saad’s location.

  h. Defendant Alhamed, based in the Boston, Massachusetts metropolitan area,

     attempted to extract information from an Aljabri family friend regarding Dr. Saad’s

     location.

  i. Defendant Abuljadayel, based in the Boston, Massachusetts metropolitan area,

     attempted to extract information from Dr. Saad’s daughter-in-law in an effort to

     obtain Dr. Saad’s location.

  j. Defendant John Doe 1 surveilled the Mandarin Oriental Hotel in Boston,

     Massachusetts and requested entry into the Aljabri family apartment in the hotel.

  k. Defendant Alharbi met with Dr. Saad’s son in Boston, Massachusetts and attempted

     to extract information from him about Dr. Saad’s location.

  l. Defendant bin Salman suspended Saudi Arabian government services to the Aljabri

     family in the United States, including denying a request by Dr. Saad’s son to renew

     his Saudi Arabian passport in New York, New York.

  m. Defendant bin Salman diffused baseless corruption charges against Dr. Saad

     through INTERPOL—an intergovernmental organization of which the United

     States is a member—to U.S. law enforcement, among other member nations.

  n. Defendant bin Salman’s agents made misleading statements to journalists in the

     United States to create misimpressions in the United States about Dr. Saad’s

     activities and undermine Dr. Saad’s support from U.S. government officials. These
                                     39
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                statements have resulted in the publication of misleading articles in U.S.

                newspapers. For example, on July 17, 2020, the Wall Street Journal published an

                article relying heavily on baseless allegations from Defendant bin Salman.46

             o. In July 2020, the Al Arabiya TV network, founded by members of the Saudi royal

                family and with an office in Washington, D.C., seized on the Wall Street Journal

                article to further smear Dr. Saad and his supporters in the U.S. Intelligence

                Community. For example, Al Arabiya’s coverage has referred to Dr. Saad as an

                “international fugitive” and a “thief” who has caused a “scandal” implicating not

                only Dr. Saad but also former U.S. intelligence officials who support him.47

             p. Defendant bin Salman transmitted threatening text messages to Dr. Saad over

                WhatsApp’s U.S.-based servers.

       91.      Further, Defendant bin Salman’s attempt to extrajudicially kill Dr. Saad was part

of a broader campaign to eliminate those who could undermine Defendant bin Salman’s support

from the U.S. government. That campaign has included, as further described herein, the use of

Defendant Alasaker to cultivate U.S.-based agents inside Twitter, Inc., a company incorporated in

Delaware and headquartered in San Francisco, California, for the purposes of discovering personal




46
  Bradley Hope, Justin Scheck & Warren P. Strobel, Saudi Arabia Wants its Fugitive Spymaster
Back, Wall St. J., July 17, 2020, https://www.wsj.com/articles/a-spymaster-ran-off-after-saudis-
say-billions-went-missing-they-want-him-back-11595004443.
47
         Al       Arabiya,        Facebook    (July 18, 2020,       8:00      PM       ET),
https://m.facebook.com/AlArabiya/videos/2492096491089290/; Fahad Ibrahim Aldagheethr,
Aljabri…The Big Breach, Al Arabiya, https://www.alarabiya.net/ar/politics/2020/07/22/-‫الجبري‬
‫الكبير‬-‫( االختراق‬last visited July 29, 2020).

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information about and ultimately eliminating critics of Defendant bin Salman.48 The campaign

also included offering employment with the MiSK Foundation as a reward to those who covertly

aided Defendant bin Salman and Defendant Alasaker within the United States.49              Further,

Defendant bin Salman’s campaign to consolidate power in the United States included the

extrajudicial killing of Washington Post columnist Jamal Khashoggi, who was initially banned

from working as a journalist in Saudi Arabia because of public criticism in Washington, D.C. of

Donald Trump at a time when Defendant bin Salman was working to win Trump’s support.50

Finally, the campaign involved the arrest and detention of Mr. bin Nayef, who, along with Dr.

Saad, has worked closely with the U.S. Intelligence Community.

          92.   This Court also has pendent personal jurisdiction over Defendant bin Salman,

Defendant Alasaker, Defendant Alqahtani, Defendant Alassiri, Defendant Alharbi, Defendant

Alrajhi, Defendant Alhamed, Defendant Abuljadayel, Defendant John Doe 1, and the Tiger Squad

Defendants in regards to Dr. Saad’s common law claim for intentional infliction of emotional

distress, because it arises out of the same nucleus of operative facts as Dr. Saad’s TVPA and ATS

claims.




48
   This scheme to infiltrate Twitter is the subject of a criminal indictment brought in the Northern
District of California. See United States v. Abouammo et al., No. 3:19-cr-00621-EMC (N.D. Cal.);
infra note 86.
49
  See Superseding Indictment ¶ 26(u), United States v. Abouammo, No. 3:19-cr-00621-EMC
(N.D. Cal. July 28, 2020), ECF No. 53.
50
   Samuel Osborne, Saudi Arabia Bans Journalist for Criticising Donald Trump, Independent,
Dec. 5, 2016, https://www.independent.co.uk/news/world/middle-east/saudi-arabia-donald-
trump-journalist-banned-for-criticising-us-president-elect-a7456956.html.
                                                41
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       93.     The court has personal jurisdiction over Defendant MiSK Foundation under D.C.

Code § 13-423.     Defendant MiSK Foundation, which operates as a front organization for

Defendant bin Salman and Defendant Alasaker, has purposefully availed itself of this forum by

transacting business in Washington, D.C., and Dr. Saad’s claims against it arise out of those

contacts. On information and belief, one of the MiSK Foundation’s primary purposes was to

recruit and develop a network of agents in the United States to carry out acts in furtherance of

Defendant bin Salman’s objectives—including hunting, trapping, and undertaking to kill Dr. Saad.

Accordingly, on information and belief, all of its events and programming were designed and

executed for this purpose. A substantial portion of these recruiting events occurred in the District

of Columbia.51 As the “Secretary-General” of Defendant MiSK Foundation, Defendant Alasaker


51
   For example, according to public sources, Defendant MiSK Foundation hosted two “MiSK
Talks,” modeled off of TED Talks, in Washington, D.C. (held in conjunction with Defendant bin
Salman’s visit to the United States); a “MiSK Art” panel discussion and tour of the Newseum; the
sponsorship of an exhibit of Saudi art at the Kennedy Center; a “Leadership Bootcamp” designed
to facilitate networks of Saudi national students in the Washington, D.C. metropolitan area, which
included a partnership with Uber to provide rides in Washington, D.C.; and a training workshop,
in cooperation with Bloomberg and LinkedIn and hosted at Bloomberg’s Washington D.C. offices
(after Defendant MiSK executed a memorandum of understanding with Bloomberg). See, e.g.,
The Misk Foundation - the Saudi Arabian Youth Empowerment Nonprofit Established by H.R.H.
Crown Prince Mohammed bin Salman - Announces Events in Six U.S. Cities in Conjunction With
Royal Visit, PR Newswire, Mar. 21, 2018, https://www.prnewswire.com/news-releases/the-misk-
foundation--the-saudi-arabian-youth-empowerment-nonprofit-established-by-hrh-crown-prince-
mohammed-bin-salman--announces-events-in-six-us-cities-in-conjunction-with-royal-visit-
300617789.html; Saudi Contemporary Art in D.C.: Kennedy Center, Edge of Arabia,
http://edgeofarabia.com/exhibitions/saudi-contemporary-art-in-d.c-kennedy-center (last visited
July 12, 2020); ‫@( الخيرية مبادرات مسك‬MiSKinitiatives), Twitter (June 28, 2018, 11:53 AM),
https://twitter.com/MiSKinitiatives/status/1012363258236456963; Press Release, Bloomberg,
Bloomberg and the MiSK Foundation To Explore Multi-Year Financial Education and Business
Journalism       Training     Initiative    for     Young      Saudis     (Nov.     15,     2016),
https://www.bloomberg.com/company/press/bloomberg-misk-foundation-journalism-training;
‫@( الخيرية مبادرات مسك‬MiSKinitiatives), Twitter (Apr. 11, 2018 11:00 AM),

                                                42
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planned and coordinated these programs and, on information and belief, personally attended some

or all of these events.52

        94.     In particular, Defendant MiSK Foundation signed contracts in the District of

Columbia, including a June 2016 agreement with Babson College and Lockheed Martin, which

established the Prince Mohammad bin Salman College of Business and Entrepreneurship.53

Defendant Alasaker executed this agreement and Defendant bin Salman attended the signing

ceremony in the District of Columbia in June 2016.54 On information and belief, Defendant MiSK

Foundation’s transaction of business in the District of Columbia with these U.S. entities furthered

its platform and legitimacy in the United States, which it used to recruit and develop a network of




https://twitter.com/MiSKinitiatives/status/984083824073232384; MiSK Initiatives ‫مبادرات مسك‬
‫الخيرية‬      (@MiSKinitiatives),       Twitter    (Apr.    6,      2018,     8:03    PM),
https://twitter.com/MiSKinitiatives/status/982408530878717952; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker),          Twitter          (Mar.      22,      2018,       9:37      PM),
https://twitter.com/Badermasaker/status/976996313211506688; Misk Foundation ‫مسك الخيرية‬
(@MiskKSA),            Twitter          (Mar.       21,       2018,       8:17       PM),
https://twitter.com/MiskKSA/status/976613691138433024.
52
   See, e.g., Bader Al Asaker ‫@( بدر العساكر‬Badermasaker), Twitter (Mar. 22, 2018, 9:37 PM),
https://twitter.com/Badermasaker/status/976996313211506688; Bader Al Asaker ‫بدر العساكر‬
(@Badermasaker),          Twitter         (Mar.      21,       2018,         7:08       PM),
https://twitter.com/Badermasaker/status/976596561928040448.
53
    Press Release, KAEC, Prince Mohammad Bin Salman College of Business and
Entrepreneurship      To     Be      Launched    at    KAEC        (June     22,     2016),
https://www.kaec.net/press_releases/prince-mohammad-bin-salman-college-of-business-and-
entrepreneurship-to-be-launched-at-kaec/.
54
     Id.; Prince Mohammad bin Salman College of Business, Babson Global,
https://babsonglobal.org/2016/02/10/philanthropreneurship-forum-london/ (last visited July 30,
2020).

                                                43
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Saudi agents in the United States to pursue Defendant bin Salman’s objectives, including the hunt

for Dr. Saad.

        95.     Additionally, in or around May 2017, Defendant MiSK Foundation donated money

to the Women Entrepreneurs Finance Initiative, a Washington, D.C.-headquartered initiative that

is a project of Ivanka Trump, Advisor and Assistant to the President of the United States.55 On

information and belief, Defendant MiSK Foundation’s donation furthered the Defendants’ goal of

influencing senior U.S. government officials to support Defendant bin Salman and undermine Dr.

Saad.

        96.     Additionally, on March 21, 2018, Defendant MiSK Foundation held an event at the

Willard Intercontinental Hotel in the District of Columbia, in connection with a visit from

Defendant bin Salman to the United States. On information and belief, the event featured talks

from Saudi students in the United States, furthering the cultivation of agents in the United States

who could be deployed for Defendant bin Salman’s objectives.

        97.     To the extent Defendant Alrajhi and/or Defendant Alhamed is subject to

jurisdiction in a state’s court of general jurisdiction, the exercise of personal jurisdiction over them

is proper under D.C. Code § 13-423(a)(1) because they each have purposefully availed themselves

of this forum by transacting business in Washington, D.C., and Dr. Saad’s claims rise out of those

contacts. On information and belief, Defendant Alrajhi purchased a plane ticket in Washington,



55
   Al Asaker, Mohammed bin Salman’s Invisible Hand, Intelligence Online, Oct. 18, 2017,
https://www.intelligenceonline.com/government-intelligence/2017/10/18/al-asaker-mohammed-
bin-salman-s-invisible-hand,108276602-
art#:~:text=Al%20Asaker%20is%20not%20officially,the%20crown%20prince's%20personal%2
0foundation.
                                                  44
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D.C. and travelled from Washington, D.C. to Boston, Massachusetts for the purpose of hunting

down Dr. Saad’s location, which was an essential step in carrying out Defendant bin Salman’s plan

to extrajudicially kill Dr. Saad. Defendants Alrajhi and Alhamed were also active in Saudi-

sponsored programming in the District of Columbia, attending various events aimed at developing

a network of covert agents to target individuals, including Dr. Saad, who undermine Defendant

bin Salman.56    On information and belief, Defendant Alhamed also used those events in the

District of Columbia to develop connections for later business use, specifically for his organization

Saudi Elite and his employment, beginning in January 2018, with the Saudi American Public

Relation Affairs Committee (“SAPRAC”), a District of Columbia-based public relations firm

focused on the United States-Saudi Arabia relationship. These business connections motivated

Defendant Alhamed to act as agent for Defendant bin Salman and Defendant Alasaker in hunting

for Dr. Saad. Relatedly, on information and belief, Defendant Alhamed regularly attends

SAPRAC events in the District of Columbia. Defendant Alhamed also indicates on his personal

Twitter profile that he is based in Washington, D.C.

       98.      Venue is proper in this Court under 28 U.S.C. § 1391(b)(3).




56
         See       Youseef         Alrajhi,      Facebook       (Sept.        1,    2017),
https://www.facebook.com/yousef.alrajhi.5/posts/1029162850520427;      Youseef     ALrajhi,
Facebook (June 28, 2017), https://www.facebook.com/yousef.alrajhi.5/posts/978017905634922;
Youseef            ALrajhi,           Facebook            (June         25,         2017),
https://www.facebook.com/photo/?fbid=975583669211679&set=pcb.975584075878305;
Mohammed         Alhamed        (@m7alhamed),        Instagram     (Sept.      6,   2016),
https://www.instagram.com/p/BKAGP6ThV1A;          Mohammed      Alhamed      (@m7alhamed),
Instagram (May 29, 2015), https://www.instagram.com/p/3SY_R_LC0W/.
                                                 45
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                                       FACTUAL ALLEGATIONS

      I.         Dr. Saad’s Close Partnership with the U.S. Intelligence Community and Intimate
                 Knowledge of Defendant bin Salman Make Him Defendant bin Salman’s Top
                 Target

           99.      This case involves the attempted extrajudicial killing of a critical U.S. intelligence

partner—Dr. Saad—in an attempt to influence and harm U.S. intelligence interests and foreign

policy.

           100.     Dr. Saad came to be recognized as a “hero” in the U.S. Intelligence Community

over the course of a decades-long career in the Saudi government, as he worked closely with

officials in the U.S. Intelligence Community on counterterrorism and security projects. 57 At the

same time, his perch in the Saudi government gave him a direct window into the inner workings

of the Saudi Royal Court, including the personal, political, and business dealings of Defendant bin

Salman. As a result of the knowledge he gained and his close partnership with U.S. intelligence

officials, he is now at the very top of Defendant bin Salman’s hit list.

           101.     In particular, Dr. Saad is widely regarded for thwarting a bombing attack on the

United States by an al-Qaeda affiliate, saving hundreds—if not thousands—of American lives.58

Former Acting Director of the CIA Michael Morell stated that Dr. Saad’s “work saved Saudi and

American lives, in the kingdom and outside.”59 U.S. Senators Marco Rubio, Chris Van Hollen,

Patrick Leahy, and Tim Kaine, while urging President Trump to personally engage to protect Dr.



57
     Ignatius, supra note 4.
58
     Id.
59
     Id.

                                                     46
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Saad, have emphasized that Dr. Saad was “a highly valued partner of our Intelligence agencies and

the Department of State during the past two decades,” noting his work discovered and prevented

terrorist plots and “was of vital importance to U.S. counterterrorism efforts in the post 9/11 era.”60

          102.   Dr. Saad’s career in government began in 1976 and concluded in 2015. During that

time, he occupied numerous public positions in Saudi Arabia’s Ministry of Interior, including State

Minister and Chief of Staff.

          103.   In these positions, Dr. Saad gained substantial insight into the operations of the

Saudi Royal Court. He was a close confidante of former Crown Prince Mohammad bin Nayef

and, of critical importance to Defendant bin Salman, was privy to sensitive information about

Defendant bin Salman’s covert political scheming within the Royal Court and corrupt business

dealings. Dr. Saad also heard and witnessed firsthand Defendant bin Salman’s communications

with foreign governments, including his overtures to U.S. adversaries.

          104.   In his official capacity with the government of Saudi Arabia, Dr. Saad also worked

at the highest levels on counterterrorism partnerships and operations, in particular with the United

States.

          105.   For example, beginning in 2003, in cooperation with then-CIA Director George

Tenet, Dr. Saad led efforts to build a modernized Saudi security system that could combat al-Qaeda

and penetrate “al-Qaeda in the Arabian Peninsula,” the terror group’s affiliate in Yemen. As an

outgrowth of that project, Dr. Saad oversaw a network of informants who identified a 2010 plot



60
   Letter from Senator Patrick Leahy, Senator Marco Rubio, Senator Tim Kaine & Senator Chris
Van        Hollen      to      President     Donald      Trump       (July    7,      2020),
https://twitter.com/SenatorLeahy/status/1281281725499408386/photo/1.
                                                 47
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by al-Qaeda in the Arabian Peninsula to bomb two United States-bound cargo airplanes through

packages with explosive-laden computer printer cartridges.          The packages—addressed to

synagogues near Chicago, Illinois and sent by FedEx and UPS—were timed to blow up over the

United States, but were intercepted only after a team supervised by Dr. Saad arranged for the

information to be shared with then-White House Homeland Security Advisor John Brennan. Dr.

Saad is widely credited with thwarting the attacks, saving hundreds—if not thousands—of

American lives.61

       106.    Under the leadership of Dr. Saad and Mr. bin Nayef, Saudi Arabia became one of

the United States’ key partners in counterterrorism, a partnership that has increasingly formed the

backbone of the historic American-Saudi relationship.62 As a group of former senior intelligence

and defense officials wrote in an open letter, the United States’ “strategic alliance with Saudi

Arabia has formed the core element of the geopolitical architecture of the modern Middle East.

Over time, the Kingdom has evolved into one of Washington’s most important and reliable

partners in counterterrorism, both globally and within the region.”63 This is true largely because

of Dr. Saad.




61
  Mark Mazzetti & Robert Worth, U.S. Sees Complexity of Bombs as Link to Al Qaeda, N.Y.
Times, Oct. 30, 2010, https://www.nytimes.com/2010/10/31/world/31terror.html; Ignatius, supra
note 4.
62
   Keith Johnson & Robbie Gramer, How the Bottom Fell Out of the U.S.-Saudi Alliance, (April
23, 2020), https://foreignpolicy.com/2020/04/23/saudi-arabia-trump-congress-breaking-point-
relationship-oil-geopolitics/
63
   Letter from William S. Cohen, Former Sec’y of Def., Michael Morell, Former Acting Dir. of
the Cent. Intelligence Agency, et al. to the President of the U.S. & Members of Cong., supra note
3.
                                                48
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       107.    Through his work in the Saudi government, Dr. Saad developed a strong reputation,

influence, and network of connections within the U.S. Intelligence Community—a network that

he has maintained at all relevant times. While in office, he maintained regular contact with the

White House, State Department, and officials from the U.S. Intelligence Community on an almost-

daily basis, working closely on joint projects to combat global terrorism.

       108.    Importantly, it was Dr. Saad’s close cooperation with the U.S. Intelligence

Community—and Defendant bin Salman’s perception that such cooperation undermined

Defendant bin Salman’s own efforts to consolidate power in the Saudi Royal Court through

augmenting his influence in the United States—that ultimately led to Dr. Saad’s termination.

       109.    Specifically, shortly before Dr. Saad’s September 2015 termination, he participated

in two official meetings with then-CIA Director John Brennan. After one such meeting in or

around July 2015, Defendant bin Salman became angry that Dr. Saad raised—and Brennan

rebuked—Defendant bin Salman’s recent communications with Russian President Vladimir Putin.

Brennan expressed concern that Defendant bin Salman was encouraging Russian intervention in

Syria, at a time when Russia was not yet a party to the war in Syria. Dr. Saad passed Brennan’s

message to Defendant bin Salman, who responded with fury.

       110.    At another official meeting between Dr. Saad and then-CIA Director Brennan in or

around August 2015, Brennan told Dr. Saad—who had offered his resignation because of

disagreement with Defendant bin Salman about the Saudi intervention in Yemen—that the CIA

could not afford to lose Dr. Saad because he was too important to U.S. national security.

       111.    Soon after the meetings with Brennan, on or around September 10, 2015, King

Salman—acting at the behest of Defendant bin Salman—stripped Dr. Saad of his positions in the
                                                49
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Saudi government by royal decree. A formal government cable sent to Dr. Saad stated explicitly

that he was terminated because of his allegedly unauthorized meetings with CIA Director John

Brennan.

           112.   Few individuals hold as great an insight into the Kingdom of Saudi Arabia and its

leadership, or possess as close and trusted a relationship with the United States, as Dr. Saad. On

information and belief, his longstanding partnership with the United States, coupled with his

intimate knowledge of Defendant bin Salman’s most damning information, was perceived as an

urgent threat by Defendant bin Salman.

     II.      Defendant bin Salman’s Campaign for White House Support and Targeting of
              Dr. Saad Causes Dr. Saad to Flee Saudi Arabia

           113.   After the removal of Dr. Saad from his formal post in the Saudi government,

Defendant bin Salman continued his campaign to build support for his ascension within the U.S.

government.       This included public glad-handing with members of the incoming Trump

administration (even as U.S. intelligence officials remained skeptical about Defendant bin

Salman’s ascent) and setting the stage for Defendant bin Salman’s forthcoming coup.64

           114.   After the November 2016 U.S. Presidential election, Dr. Saad was informed about

negotiations between President-elect Donald Trump’s transition team and private representatives

of Defendant bin Salman involving significant and suspicious promises made to the incoming

Trump administration. At that time, Defendant bin Salman was Deputy Crown Prince of Saudi


64
   Peter Bergen, Trump's Uncritical Embrace of MBS Set the Stage for Khashoggi Crisis, CNN,
Nov. 16, 2018, https://www.cnn.com/2018/10/15/opinions/how-the-saudis-played-trump-
bergen/index.html; Addiction and Intrigue: Inside the Saudi Palace Coup, Reuters, July 19, 2017,
https://www.reuters.com/article/us-saudi-palace-coup/addiction-and-intrigue-inside-the-saudi-
palace-coup-idUSKBN1A41IS.
                                                 50
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Arabia, second in line for the throne behind Mr. bin Nayef, then Crown Prince of Saudi Arabia.

Dr. Saad understood that key allies of the United States had concerns that Mr. bin Nayef—

depended upon by the U.S. Intelligence Community for its counterterrorism efforts—could be

sidelined as a result of these private negotiations.65

       115.    The validity of such concerns soon became apparent. It was reported that, soon

after the Trump administration took office, Jared Kushner—a senior adviser to President Trump

who had begun direct communications with Defendant bin Salman—began inquiring about the

White House’s ability to influence the succession of the next king of the Saudi Royal Court.66

       116.    Like Defendant bin Salman, President-elect Trump feared his lack of support from

the U.S. Intelligence Community—fear that manifested into public attacks.67 For instance,

President Trump publicly suggested that U.S. intelligence agencies were leaking information about

him and repeatedly criticized them, for example asking, “Are we living in Nazi Germany?”68



65
   The Brookings Institute has referred to Mr. bin Nayef as “the darling of America’s
counterterrorism and intelligence services.” Bruce Riedel, The Prince of Counter-Terrorism,
Brookings (Sept. 29, 2015), http://csweb.brookings.edu/content/research/essays/2015/the-prince-
of-counterterrorism.html.
66
   David D. Kirkpatrick et al., The Wooing of Jared Kushner: How the Saudis Got a Friend in the
White House, Dec. 8, 2018, https://www.nytimes.com/2018/12/08/world/middleeast/saudi-mbs-
jared-kushner.html.
67
   Tom McCarthy, Why is Donald Trump Attacking the US Intelligence Community?, Guardian,
Aug. 19, 2018, https://www.theguardian.com/us-news/2018/aug/18/why-is-donald-trump-
attacking-the-us-intelligence-community; Aaron Blake, Trump Won’t Believe His Own
Intelligence     Community       —     Again,    Wash.     Post,     Nov.       17,     2018,
https://www.washingtonpost.com/politics/2018/11/15/trump-administration-is-trying-hard-not-
blame-saudi-crown-prince-khashoggis-death/.
68
    Donald J. Trump (@realDonaldTrump), Twitter (Jan.                 11,   2017,    7:48   AM),
https://twitter.com/realDonaldTrump/status/819164172781060096.

                                                  51
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          117.    Notwithstanding the Trump administration’s negotiations with Defendant bin

Salman, the U.S. Intelligence Community continued to send important and public signals of

support for Mr. bin Nayef as late as February 2017. CIA Director Mike Pompeo presented Mr.

bin Nayef with the George Tenet Medal for his “excellent intelligence performance” in the domain

of counterterrorism.69

          118.    On March 14, 2017, President Trump hosted Defendant bin Salman in the Oval

Office and for a formal meal in the State Dining Room at the White House, his first visit to the

new Trump administration.70 Such visits are usually reserved for foreign heads of state, and would

thus not typically be offered to a person with Defendant bin Salman’s role, which, at the time, was

Deputy Crown Prince.71 According to Politico, the formal visit “raised eyebrows” among U.S.

foreign policy circles and signaled a White House preference for Defendant bin Salman in the

Saudi succession to the throne.72

          119.    By the spring of 2017, Defendant bin Salman was successfully cultivating the

support of senior White House officials, but the U.S. Intelligence Community remained resistant

and continued to rely upon their longstanding partner Mr. bin Nayef, supported by Dr. Saad.




69
  Bethan McKernan, CIA Awards Saudi Crown Prince With Medal for Counter-Terrorism Work,
Independent, Feb. 13, 2017, https://www.independent.co.uk/news/world/middle-east/cia-saudi-
arabia-crown-prince-muhammed-bin-naye-medal-counter-terrorism-work-intelligence-
a7577221.html.
70
     Hirschfeld Davis, supra note 8.
71
     Kirkpatrick et al., supra note 66.
72
 Kenneth P. Vogel & Theodoric Meyer, Trump Drawn into Saudi Game of Thrones, Politico,
May 17, 2017, https://www.politico.com/story/2017/05/17/donald-trump-saudi-arabia-238464.

                                                52
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Around this time period, Defendant bin Salman told Kushner that he had developed close

relationships with all U.S. agencies “except three”—a reference to the CIA, Federal Bureau of

Investigation (“FBI”), and National Security Agency (“NSA”).

         120.   In early May 2017, President Trump announced that he would visit Saudi Arabia

during the first foreign trip of his new administration.73

         121.   On May 17, 2017—shortly before President Trump’s visit to Saudi Arabia, and

during the peak of Defendant bin Salman’s winning campaign to gain White House influence—

Politico reported that the Saudi Ministry of Interior, led by Mr. bin Nayef, signed a lobbying

contract with a Washington, D.C. lobbying firm with ties to the Trump administration.74

         122.   The very same day, fearing Defendant bin Salman’s assumption that Dr. Saad was

involved in Mr. bin Nayef’s efforts in the United States, Dr. Saad fled Saudi Arabia for Turkey,

concerned for his safety after having received credible intelligence from a reliable partner that he

and Mr. bin Nayef’s lives were at risk because of the threat Defendant bin Salman believed they

posed to his efforts to consolidate personal political support in the United States.

         123.   By the evening of May 17, 2017, Defendant bin Salman demanded the arrest of

anyone associated with the Ministry of Interior’s U.S. lobbying effort. Defendant Alqahtani

ordered the arrest of the Ministry of the Interior’s signatory of the U.S. lobbying contract, who




73
  Donald Trump, U.S. Pres., Remarks by President Trump at the National Day of Prayer Event
and Signing of the Executive Order on Promoting Free Speech and Religious Liberty (May 4,
2017), https://www.whitehouse.gov/briefings-statements/remarks-president-trump-national-day-
prayer-event-signing-executive-order-promoting-free-speech-religious-liberty/.
74
     Vogel & Meyer, supra note 72.

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was detained for approximately one week and aggressively questioned about the contract. The

captors asked about Dr. Saad’s role in the U.S. lobbying contract and demanded he pay a price

too. Dr. Saad was later warned in a WhatsApp message from his former colleague, General

Abdulaziz Howairini, that the captors “were very eager” to get Dr. Saad.75

             124.   A few days later, from May 20 to 21, 2017, the Trump Administration, including

President Trump and Kushner, visited Saudi Arabia. During the visit, the White House announced

an agreement in which Saudi Arabia would invest more than $350 billion in U.S. defense

manufacturers, the largest arms deal in U.S. history. 76 The announcement marked a months-long

campaign by Defendant bin Salman to win the personal support of the new Trump administration.

             125.   Dr. Saad’s fears about what would follow from Defendant bin Salman’s newfound

White House support proved well-founded. Since Dr. Saad’s departure, Defendant bin Salman

has engaged in a global campaign—including in the United States—to find and kill Dr. Saad, as

part of a larger effort to remove any threats to the White House support Defendant bin Salman had

so carefully cultivated.

      III.      Defendant bin Salman Attempts to Lure Dr. Saad Back to Saudi Arabia, Where
                He Could Easily Be Killed

             126.   In the immediate aftermath of Dr. Saad’s escape from Saudi Arabia, and in the years

since, Defendant bin Salman has been engaged in a continued attempt to extrajudicially kill Dr.




75
     WhatsApp message from Gen. Abdulaziz Howairini to Dr. Saad (June 17, 2017, 7:07 PM AST)
76
  Javier E. David, US-Saudi Arabia Seal Weapons Deal Worth Nearly $110 Billion Immediately,
$350 Billion Over 10 Years, CNBC, May 20, 2017, https://www.cnbc.com/2017/05/20/us-saudi-
arabia-seal-weapons-deal-worth-nearly-110-billion-as-trump-begins-visit.html.

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Saad. The first part of that attempted extrajudicial killing consisted of Defendant bin Salman’s

attempts to lure Dr. Saad back to Saudi Arabia, where he could easily be killed. Defendant bin

Salman has personally sent Dr. Saad threatening written messages, making clear his intent to use

“all available means” to compel Dr. Saad’s return.77 Further, Defendant bin Salman has detained

and “disappeared” Dr. Saad’s children and relatives, using them as a crude form of human bait in

an effort to lure Dr. Saad to Saudi Arabia so that he can be killed.

         A. Defendant bin Salman Attempts to Lure Dr. Saad Into Returning to Saudi Arabia from
            Turkey to Facilitate His Extrajudicial Killing

         127.   After Dr. Saad fled Saudi Arabia, Defendant bin Salman tried to bait him into

returning to the country, where he would be at the mercy of Defendant bin Salman and his

henchmen.

         128.   In particular, beginning on June 18, 2017, Defendant bin Salman sent messages to

Dr. Saad—who had fled to Turkey—via the messaging program WhatsApp.78 Defendant bin

Salman attempted to convince Dr. Saad to return to Saudi Arabia under the pretext of a

reconciliatory meeting among Defendant bin Salman, Mr. bin Nayef, and Dr. Saad. After



77
     WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
78
   WhatsApp, incorporated in Delaware, is headquartered in California. Contact WhatsApp,
WhatsApp, https://www.whatsapp.com/contact/ (last visited July 30, 2020). It is owned by
Facebook, also headquartered and incorporated in the United States. Before June 2017,
WhatsApp’s servers were located in the United States; after June 2017, they were reportedly hosted
on Facebook’s servers, which have multiple locations in the United States. Candace Carlisle,
Facebook's Fort Worth, U.S. Data Centers Contributing Nearly $6B in GDP Growth, Study Says,
Dall. Bus. J., Mar. 1, 2018, https://www.bizjournals.com/dallas/news/2018/03/01/facebooks-fort-
worth-u-s-data-centers-contributing.html; Tanwen Dawn-Hiscox, Facebook To Move Whatsapp
Workloads From IBM's Cloud to its Own Data Centers, Data Ctr. Dynamics, June 13, 2017,
https://www.datacenterdynamics.com/en/news/facebook-to-move-whatsapp-workloads-from-
ibms-cloud-to-its-own-data-centers/.
                                                 55
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Defendant bin Salman inquired about Dr. Saad’s return, Dr. Saad—seeking an excuse to delay any

return—advised that he could not return sooner than June 24, 2017 because of ongoing medical

care and offered instead to meet Defendant bin Salman outside of Saudi Arabia. Defendant bin

Salman urgently insisted on Dr. Saad’s return to Saudi Arabia sooner than that, writing, “If you

could come a few days earlier, it would be very convenient, if you can.” On information and

belief, Defendant bin Salman knew that days later he would stage a violent coup, and wanted Dr.

Saad within his grasp before Defendant bin Salman’s intentions became apparent.

          129.   A few days later, on June 20, 2017, Defendant bin Salman orchestrated a coup in

which he ousted Mr. bin Nayef from power and assumed the mantle of Crown Prince of Saudi

Arabia. After being detained overnight in the Royal Court, armed guards placed Mr. bin Nayef

under house arrest.79 Upon information and belief, Defendant bin Salman considered Mr. bin

Nayef a particular impediment to the throne because, like Dr. Saad, he had a strong partnership

with the U.S. Intelligence Community.80 After the coup, the U.S. Intelligence Community feared

that the ouster of Mr. bin Nayef would interrupt the United States’ access to valuable intelligence

from Saudi Arabia.81




79
   Dexter Filkins, A Saudi Prince’s Quest to Remake the Middle East, New Yorker, Apr. 2, 2018,
https://www.newyorker.com/magazine/2018/04/09/a-saudi-princes-quest-to-remake-the-middle-
east.
80
     Addiction and Intrigue, supra note 64.
81
   Ben Hubbard & Eric Schmitt, Saudi Official Who Was Thought To Be Under House Arrest
Receives       a      Promotion,       N.Y.        Times,        July       20,       2017,
https://www.nytimes.com/2017/07/20/world/middleeast/saudi-arabia-abdulaziz-al-huwairini-
salman-cia.html.
                                                56
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       130.    On June 20, 2017, Defendant bin Salman sent additional WhatsApp text messages

to Dr. Saad, again relying on U.S.-based servers, in which he continued to pressure Dr. Saad to

return to Saudi Arabia. Dr. Saad again cited his ongoing need for medical treatment to justify his

inability to return. Specifically, Dr. Saad told Defendant bin Salman that he was “setting out for

Boston at dawn today” to seek medical treatment. As described further below, knowledge of Dr.

Saad’s ties to Boston, Massachusetts caused Defendant bin Salman to launch a months-long effort

to deploy covert agents in the United States to hunt him there.

       131.    Defendant bin Salman’s attempts to bait Dr. Saad’s return soon turned into

demands. Demands soon turned into threats. Threats turned into cold-blooded determination:

Defendant bin Salman promised to “use all available means” and “take measures that would be

harmful to you.”

       132.    On September 7, 2017, Dr. Saad—desperately hoping to secure the safe departure

of Omar and Sarah from Saudi Arabia after the imposition of a travel ban targeting them—made

a personal plea to Defendant bin Salman using WhatsApp, begging for Defendant bin Salman’s

permission for their travel to the United States to resume their studies. Defendant bin Salman

refused and responded tersely, focused singularly on Dr. Saad’s return to Saudi Arabia: “When I

see you I will explain everything to you.”

       133.    Two days later, on September 9, 2017, Defendant bin Salman sought to deploy his

newfound leverage against the begging father. Defendant bin Salman demanded that Dr. Saad—

who was still in Turkey—immediately return to Saudi Arabia. Defendant bin Salman suggested




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he wanted “to come to an understanding with you regarding your future situation.”82 Over the

course of a five-hour text message exchange, Defendant bin Salman repeatedly demanded Dr.

Saad’s immediate return, insisting that “I want you to come back tomorrow”:




     September 9, 2017 WhatsApp exchange between Defendant bin Salman and Dr. Saad

         134.   Notwithstanding Defendant bin Salman’s demands, Dr. Saad did not agree to return

to Saudi Arabia.




82
     WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 9, 2017, 11:05 PM AST).
                                               58
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         135.   The next day, on September 10, 2017, Defendant bin Salman, with the assistance

of Defendant Alasaker, attempted to secure the return of Dr. Saad by private jet. Defendant bin

Salman began a new WhatsApp exchange with Dr. Saad by asking, “Doctor, where should we

dispatch the airplane to fetch you?”83 After Defendant bin Salman sent that message, Defendant

Alasaker repeatedly phoned and sent WhatsApp messages to Dr. Saad, attempting to coordinate

the time and place of a private jet that would bring Dr. Saad back to Saudi Arabia. Dr. Saad—

well aware that Defendant bin Salman had previously accomplished the extrajudicial rendition of

his targets through use of a private jet, only for them to face detention and torture in Saudi Arabia

at the hands of the Tiger Squad—refused to cooperate.

         136.   On September 10, 2017, Defendant bin Salman determined that demands for

cooperation were not enough. In another WhatsApp message, Defendant bin Salman threatened

that he would use “all available means” to silence Dr. Saad. Defendant bin Salman warned of a

coming escalation, in which he would personally “take legal measures, as well as other measures

that would be harmful to you” (emphasis added). Referencing bogus allegations of corruption,

Defendant bin Salman threatened Dr. Saad with “two choices”: either “return to the Kingdom,

where you will be placed under house arrest,” or become the target of a worldwide manhunt,

beginning with the filing of bogus corruption allegations through INTERPOL in an attempt to

“turn you over” to his men. “There is no state in the world that would refuse to turn you over,”

Defendant bin Salman insisted. “You have one hour to decide,” Defendant bin Salman wrote,

promising ominously that “we shall certainly reach you.”



83
     WhatsApp message from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 8:19 AM AST).
                                                 59
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      September 10, 2017 WhatsApp message from Defendant bin Salman to Dr. Saad
              (translated excerpts from original Arabic language message)

       137.    On September 11, 2017, while still residing in Turkey, Dr. Saad learned that

Defendant bin Salman was pressuring the Government of Turkey to formally extradite Dr. Saad to

Saudi Arabia. On information and belief, in or around September 2017, Defendant bin Salman’s

agents sent a list of extradition requests to the Government of Turkey. Were there any doubts as

to Defendant bin Salman’s intentions for Dr. Saad, the fate of the other individuals on that list

resolved it: the list included Dr. Saad as well as several individuals who, upon their later return to

Saudi Arabia, were each subsequently “disappeared.”

       138.    Dr. Saad fled Turkey on September 12, 2017 and traveled in secret to Toronto,

Canada.



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     B. Defendant bin Salman Kidnaps Dr. Saad’s Children in Saudi Arabia to Lure His Return so
        that He Can Be Killed

        139.   In addition, Defendant bin Salman has waged an all-out effort to use Dr. Saad’s

children “as leverage to try to force their father’s return to the kingdom,” as described by U.S.

Senators Leahy, Rubio, Kaine, and Van Hollen.84

        140.   On June 21, 2017, Defendant bin Salman prohibited two of Dr. Saad’s children,

Omar and Sarah, from leaving Saudi Arabia to attend school in the United States, even though

both held valid U.S. F-1 student visas. At the time, Omar was eighteen years old and Sarah was

seventeen years old. Omar and Sarah went to the King Khalid International Airport in Riyadh to

board a flight to Boston, Massachusetts (via Turkey), but were told by border security that they

were not permitted to leave the country because they were subject to a travel ban.

        141.   That same day, again through WhatsApp text messages, Dr. Saad pled with

Defendant bin Salman to allow his children to leave Saudi Arabia. Defendant bin Salman ignored

the request.

        142.   Several months later, in a WhatsApp message to Dr. Saad on September 9, 2017,

Defendant bin Salman explicitly linked the travel ban on Dr. Saad’s children with Dr. Saad’s return

to Saudi Arabia: he said that “I want to resolve this problem of your son and daughter,” but that

Dr. Saad needed to return to Saudi Arabia for him to do so. Dr. Saad did not take the bait, and to

this day, Dr. Saad’s son and daughter remain trapped in Saudi Arabia.




84
  Letter from Senator Patrick Leahy, Senator Marco Rubio, Senator Tim Kaine & Senator Chris
Van Hollen to President Donald Trump, supra note 60.
                                                61
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       143.    As a result of Defendant bin Salman’s travel ban, Omar and Sarah were unable to

resume their educations in the United States, as had been long planned. Omar had already taken

classes in Boston, Massachusetts, while Sarah had just finished high school exams in Saudi Arabia.

Both children had already been accepted to educational institutions in Boston, Massachusetts and

paid tuition. Omar was to study towards an undergraduate degree at Suffolk University and Sarah

in the two-year International Baccalaureate Program at the British International School of Boston.

On information and belief, their absence caused each educational institution to contact U.S.

immigration authorities about their whereabouts.

       144.    In March 2020, having still been unable to lure Dr. Saad back to Saudi Arabia,

Defendant bin Salman went further, kidnapping the children in a dawn raid.

       145.    Specifically, on March 9, 2020, a close aide to Defendant bin Salman called a

relative of Dr. Saad living in Saudi Arabia and requested an in-person meeting with Omar (then

age twenty-one) and Sarah (age twenty), which took place that afternoon. At the time, Omar and

Sarah—prohibited by Defendant bin Salman from leaving the country since June 2017—were

living in a house in Riyadh, Saudi Arabia. At the meeting, aides to Defendant bin Salman

pressured Omar and Sarah to convince Dr. Saad to return to Saudi Arabia and advised Omar that

he and Sarah would not be able to leave Saudi Arabia until Dr. Saad returned.




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                            Dr. Saad’s Children Omar and Sarah

       146.   In the early morning hours of March 16, 2020, more than fifty armed men in

unmarked cars and dressed in civilian clothes raided the Aljabri residence and seized Omar and

Sarah from their beds. On information and belief, they were acting under the supervision of a

close aide to Defendant bin Salman, Salah Aljotaili. The armed men also took eight bags of

household effects, the memory drive with the household’s CCTV footage, and the keys to the

house. The men provided no reason for Omar and Sarah’s arrest, nor did they furnish any

document authorizing their removal.

       147.   Dr. Saad has not seen his children, Sarah or Omar, since. Dr. Saad does not know

if they are safe. His inquiries with the head of Saudi State Security have gone unanswered.

       148.   On information and belief, the continued detention and disappearance of Omar and

Sarah is now supervised and enforced by Aljotaili at the direction of Defendant bin Salman.

       149.   As soon as Dr. Saad learned about the kidnapping on March 16, 2020, he suffered

severe and intense emotional distress. Haunted, Dr. Saad could not sleep. He met with his primary

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care physician and obtained prescription medication. Dr. Saad’s hypertension and glucose levels

became out of control, and he experienced severe headaches and fatigue. Dr. Saad’s wife could

not stop crying. Dr. Saad was and remains tormented by what is happening to his young son and

daughter.

         150.   Based on Defendant bin Salman’s conduct to date, Dr. Saad has significant reason

to fear for his children’s safety. Indeed, Defendant bin Salman has made clear—in fact has stated

explicitly—that he will use “all available means,” including extrajudicial “measures that would be

harmful,” to extract information about Dr. Saad and coerce his return to Saudi Arabia so that he

can be arrested, tortured and ultimately put to death.85

         C. Defendant bin Salman Arrests and Tortures Additional Relatives of Dr. Saad to Lure
            Dr. Saad Back to Saudi Arabia So That He Can Be Killed

         151.   In addition to the direct personal threats and kidnapping of Dr. Saad’s children

Omar and Sarah, Defendant bin Salman continued to search for additional sources of leverage to

coerce Dr. Saad’s return to Saudi Arabia. With international borders no hindrance, Defendant bin

Salman sought Dr. Saad’s relatives wherever they could be found.

         152.   On September 26, 2017, a relative of Dr. Saad was arrested on the streets of Dubai,

in the Saudi-allied United Arab Emirates, and promptly rendered to Saudi Arabia.

         153.   Saudi agents of Defendant bin Salman imprisoned the relative in the maximum-

security al-Ha’ir prison in Riyadh for more than one month and subjected him to physical and

psychological torture. The Saudi agents explicitly told the relative he was being tortured as a

proxy for Dr. Saad.


85
     WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
                                                 64
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       154.    Dr. Saad’s relative was eventually released in January 2018, but since that time has

had to wear an ankle bracelet and report periodically to Saudi agents for questioning, which has

focused on Dr. Saad and his family. He cannot leave Saudi Arabia and cannot be reunited with

his family in Turkey.

       155.    In addition, in May 2020, Defendant bin Salman’s henchmen arrested Dr. Saad’s

brother, Abdulrahman Aljabri (“Abdulrahman”) in Riyadh, Saudi Arabia. In a dawn raid, an

armed team wearing masks stormed Abdulrahman’s house, seized money, and took him into

custody, where he remains to this day.

       156.    Moreover, in June 2020, Defendant bin Salman’s henchmen arrested and detained

Dr. Saad’s nephew, Majid Almuzaini (“Majid”), in Riyadh, Saudi Arabia. Defendant bin Salman’s

agents interrogated Majid about Dr. Saad. They also inquired about recent media coverage in the

United States about the kidnapping of Omar and Sarah.

   D. Defendant bin Salman Attempts to Coerce the Return of Dr. Saad’s Son from the United
      States in an Effort to Lure Dr. Saad to Return So That He Can be Killed

       157.    Defendant bin Salman further used one of Dr. Saad’s sons in the United States,

Khalid Aljabri (“Khalid”), as a pawn in his efforts to draw Dr. Saad back to Saudi Arabia by

interfering with Khalid’s ability to study in the United States.

       158.    The Saudi Ministry of Interior had previously authorized a scholarship for Khalid

to continue his studies in the United States by completing an MBA program at the Massachusetts

of Technology (“MIT”). In July 2017—soon after Dr. Saad fled Saudi Arabia—Defendant bin

Salman’s agents suddenly cut off Khalid’s scholarship, which was necessary to continue his

studies in the United States.


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         159.   On information and belief, Defendant bin Salman’s agents believed that by cutting

off Khalid’s scholarship, he would no longer have a basis for legal residence in the United States.

On information and belief, Defendant bin Salman believed that if he could force Khalid’s return

to Saudi Arabia—where he could be detained, tortured, or worse—his father would soon follow.

   E. Defendant bin Salman Attempts to Lure Dr. Saad to Territory Where He Can More Easily
      Kill Dr. Saad

         160.   In addition to the efforts to coerce Dr. Saad’s return to Saudi Arabia, Defendant bin

Salman and his agents also made several attempts in December 2017 to lure Dr. Saad to return to

Turkey, where they knew he would be more vulnerable to attack—as the killing of Jamal

Khashoggi in Turkey proved correct. These efforts—undertaken by one of Defendant bin

Salman’s agents who pursued Dr. Saad in the United States and as part of an effort to deploy

INTERPOL to restrict the movements of the Aljabri family—are described further below at

paragraphs 174 and 177.

   IV.      Defendant bin Salman Hunts Dr. Saad in the United States and Deploys “All
            Available Means” to Trap Him So That He Can Be Killed

         161.   Defendant bin Salman’s attempted extrajudicial killing also involved efforts to hunt

and trap Dr. Saad so that he could be located and susceptible to attack. In parallel to his attempts

to coerce Dr. Saad’s return to Saudi Arabia, Defendant bin Salman took measures to track Dr. Saad

down in the United States and Canada, and to trap him in place. These measures included

deploying a coordinated team of covert agents on the ground in the United States to locate Dr.

Saad, restricting Dr. Saad’s movement through the issuance of INTERPOL notices, and abruptly

cutting off access to financial resources. All of this conduct was undertaken in an effort to tighten

Defendant bin Salman’s grip on Dr. Saad and line him up for a hit squad.
                                                 66
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     A. Defendants bin Salman and Alasaker Orchestrate a Hunt for Dr. Saad in the United States

        162.   Beginning in September 2017—within days of Defendant bin Salman’s September

10 threat to use “all available means” to get Dr. Saad, including non-legal “measures that would

be harmful to you”—and continuing at least through December 2017, Defendants bin Salman and

Alasaker orchestrated a hunt to track down Dr. Saad in the United States. Determined to kill Dr.

Saad, and having been told by Dr. Saad in June 2017 that he was “setting out for Boston at dawn,”

Defendant bin Salman deployed agents in the United States to hunt him down.

        163.   On information and belief, Defendant bin Salman’s agents in the United States—

including the U.S.-Based Covert Agent Defendants—had been recruited and cultivated by

Defendant Alasaker through the MiSK Foundation, and Defendant Alasaker, the “Secretary-

General” of the Defendant MiSK Foundation, directed their activities in the United States. In

recruiting and deploying these covert agents in the United States, Defendants bin Salman and

Alasaker were following a similar playbook to that which they had used two years earlier, when

they orchestrated a scheme to infiltrate Twitter via U.S.-based employees, whom they tasked with

obtaining personal information about critics of Defendant bin Salman.86


86
  That scheme is the subject of a criminal indictment brought in the Northern District of California.
See United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal. filed Nov. 19, 2019). In both
schemes, Defendant Alasaker, acting on behalf of Defendant bin Salman, reached out to Saudi
individuals living in the United States in order to recruit them as agents for Defendant bin Salman.
Superseding Indictment ¶ 26, United States v. Abouammo, No. 3:19-cr-00621-EMC (N.D. Cal.
July 28, 2020), ECF No. 53. He did this through a variety of means in both cases, including by
personally contacting would-be covert agents, reaching out to them via trusted intermediaries, and
using Saudi organizations in the United States for legitimacy (including, in Dr. Saad’s case, using
Defendant MiSK Foundation as a front). See id. Once the individuals in each case had been
contacted, Alasaker used reassurances of patriotism and monetary rewards to maintain the
relationship while the agents carried out their work in the United States in furtherance of Defendant
bin Salman’s objectives. See id.
                                                 67
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       164.    On information and belief, each of the U.S.-Based Covert Agent Defendants was

aware that their orders came from Defendant Alasaker, and thus ultimately from Defendant Bin

Salman, and each was aware of the harm that would result to Dr. Saad should their efforts to locate

him be successful. Further, on information and belief, the U.S.-Based Covert Agent Defendants

were aware of Defendant bin Salman’s campaign to target Mr. bin Nayef and Dr. Saad in order to

harm them. On information and belief, the U.S. Agent Defendants were also aware that Defendant

bin Salman had, in the past, arrested, imprisoned, and tortured those who stood in the way of his

path to power. Nevertheless, they still sought out the Aljabri family and friends to assist

Defendants bin Salman and Alasaker with their plan.

       165.    The series of attempts to locate Dr. Saad began on or around September 6, 2017,

when Khalid bin Salman—the brother of Defendant bin Salman—sent WhatsApp messages to Dr.

Saad’s son, Khalid. Khalid bin Salman planned to travel soon to New York to attend the United

Nations General Assembly. In the messages, Khalid bin Salman—under the impression that Dr.

Saad was in the United States after Dr. Saad had texted Defendant bin Salman that he was “setting

out for Boston at dawn”—inquired about the location of Dr. Saad.

       166.    Next, on September 15, 2017, Mohammed Alessa—another agent deployed by

Defendant bin Salman to hunt down Dr. Saad—interrogated a close acquaintance of Dr. Saad’s

family at an event organized by Defendant MiSK Foundation in New York, an event also attended

by Defendant Alasaker. Alessa had previously and publicly pledged his allegiance to Defendant

bin Salman during a June 2017 event in Washington, D.C. and was actively involved in MiSK




                                                68
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Foundation programming. 87 On information and belief, during the MiSK event, Alessa repeatedly

inquired about Khalid’s U.S. immigration status. When Alessa was told that Khalid had a green

card, Alessa became visibly upset. On information and belief, Alessa was upset about Khalid’s

lawful residence in the United States because it removed an avenue for Defendant bin Salman to

coerce Khalid back to Saudi Arabia, and thereby gain leverage to lure Dr. Saad back to Saudi

Arabia as well.

        167.    Soon after the inquiry from Alessa, another agent of Defendant bin Salman,

Defendant Youssef Alrajhi, contacted the same Aljabri family acquaintance questioned by Alessa

out of the blue and attempted to extract information about the location and contact information of

Dr. Saad’s wife on the false pretext of arranging a marriage with Dr. Saad’s daughter. Public

sources indicate that Defendant Alrajhi, a graduate student at Howard University in Washington,

D.C., is a close affiliate with co-agents Mohammed Alessa and Defendant Mohammed Alhamed.88



87
  ‫الملحق الثقافي يبايع األمير محمد بن سلمان بالبصمة " خالل حفل معايدة المبتعثين بالملحقية في واشنطن‬, GarbNews
(June 29, 2017), https://garbnews.net/news/s/24292.
88
   See Alrajhi, supra note 25, at 1. Defendant Alrajhi tweeted in 2015 that Alessa has an “open
door” and in 2017 that Alessa “never fails to serve his fellow scholarship students,” an apparent
reference to Saudi students in the United States who are receiving scholarships from the Saudi
government. Youssef Alrajhi (@YousefAlrajhi1), Twitter (July 14, 2015, 1:15 AM),
https://twitter.com/YousefAlrajhi1/status/620823877342621697;            Youssef          Alrajhi
(@YousefAlrajhi1),            Twitter      (Jan.         5,        2017,         2:40       PM),
https://twitter.com/YousefAlrajhi1/status/817093363241521152. Moreover, Defendant Alrajhi’s
Facebook page shows him photographed next to Alessa during at least three separate events in
June and September 2017, and an Instagram post pictures him visiting Alessa in the hospital in
2015, accompanied by Defendant Al Hamed, in 2015. Youseef ALrajhi, Facebook (June 25,
2017), https://www.facebook.com/photo/?fbid=975583669211679&set=pcb.975584075878305;
Youseef              ALrajhi,          Facebook              (June           28,           2017),
https://www.facebook.com/yousef.alrajhi.5/posts/978017905634922; Youseef ALrajhi, Facebook
(Sept.     1,     2017),   https://www.facebook.com/yousef.alrajhi.5/posts/1029162850520427;

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       168.    Not satisfied with phone calls and text messages, Defendant Alrajhi demanded an

in-person meeting with the Aljabri family friend and said he would fly from Washington, D.C. to

Boston, Massachusetts for the meeting. After the family friend refused to meet with Defendant

Alrajhi, Defendant Mohammed Alhamed contacted the friend and attempted to persuade him to

take the meeting. The effort did not work.

       169.    After his attempts to set up a meeting with the Aljabri family friend were rebuffed,

on information and belief, Defendant Alrajhi then contacted Khalid directly and flew to Boston,

Massachusetts to meet with him. Wanting to learn more about Defendant Alrajhi’s suspicious

intentions, Khalid agreed to meet Defendant Alrajhi at a restaurant inside the Mandarin Oriental

building in Boston, Massachusetts, where the Aljabri family owned an apartment. Even though

Dr. Saad and other family members did not live there at the time, Khalid wanted to misdirect

Alrajhi and the larger ongoing hunt for Dr. Saad by creating the impression that the Aljabri family

were current residents. Thus, for example, Khalid entered the restaurant using an entrance reserved

for residents, causing Defendant Alrajhi to inquire about the Aljabri family’s residence in the

building. During the dinner meeting, Defendant Alrajhi also attempted to extract information

about Khalid’s U.S. immigration status and contact information for Dr. Saad’s wife. Defendant

Alrajhi said he wanted to locate Dr. Saad’s wife to propose a marriage to one of Dr. Saad’s

daughters.

       170.    Also in the fall of 2017, Defendant bin Salman’s agent Defendant Mohammed

Alhamed attempted to extract from Aljabri family friends in Boston, Massachusetts the location


Mohammed         Alhamed      (@M7Alhamed),             Instagram       (Apr.      12,      2015),
https://www.instagram.com/p/1Yz_ZjrC8F/.
                                                70
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and contact information of Dr. Saad’s wife on the false pretext of arranging a marriage with Dr.

Saad’s daughter, just as Defendant Alrajhi had done. Defendant Alhamed also had connections to

Defendant Alasaker and Alessa, as well as Defendant Alrajhi.89 In 2017, Defendant Alhamed

worked for the MiSK Foundation’s Leadership Development program in Boston, where he

interacted with Defendant Alasaker, as evidenced by the photograph of the two of them included

below.90




89
    See, e.g., Mohammed AlHamed (@M7Alhamed), Twitter (Aug. 8, 2017, 4:20 PM),
https://twitter.com/M7Alhamed/status/895016804267028481;         Mohammed        AlHamed
(@M7Alhamed),              Twitter      (Sept.       18,       2017,      2:40       AM),
https://twitter.com/M7Alhamed/status/909668394743554052;          Mohammed        Alhamed
(@m7alhamed), Instagram (May 30, 2015), https://www.instagram.com/p/3UpHxhLC6s/; Saudi
Elite    ‫السعودي‬    ‫النخبة‬  (@SaudiEliteG),    Twitter   (Nov.    25,  2018,   3:29   PM
EThttps://twitter.com/SaudiEliteG/status/1066790900238622720.
90
   Moreover, Defendant Alhamed’s LinkedIn profile identifies him as a “Volunteer” at the Saudi
Arabian Cultural Mission in Fairfax, Virginia since October 2013, where he would have interacted
with Alessa.      Mohammed AlHamed, LinkedIn, https://www.linkedin.com/in/mohammed-
alhamed-930279140/ (last visited June 19, 2020). They were sufficiently connected by 2015 that
Defendant Alhamed posted a photograph of him and Defendant Alrajhi visiting Alessa at the
hospital after an accident. Mohammed Alhamed (@m7alhamed), Instagram (Apr. 12, 2015),
https://www.instagram.com/p/1Yz_ZjrC8F/.
                                              71
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                Defendant Alhamed (L) pictured with Defendant Alasaker (R)
                    at an August 2017 MiSK Foundation event in Boston

       171.   Around the same time period, an additional agent of Defendant bin Salman

Defendant Layla Abuljadayel—who, on information and belief, was a dentistry student at Boston

University at the time—continued the effort to hunt and track down Dr. Saad. Defendant

Abuljadayel contacted Khalid’s wife in Boston, Massachusetts out of the blue and attempted to

extract the whereabouts and contact information of Dr. Saad’s wife. Like Defendant Alrajhi and

Defendant Alhamed, Defendant Abuljadayel falsely claimed to know someone who wanted to

make a marriage proposal to the Aljabri family, notwithstanding the fact that the Aljabri family

had no daughters pursuing marriage at the time.        On information and belief, Defendant

Abuljadayel—as well as her husband Abdulraheem al-Wafi—had been paid for her work with

Defendant MiSK Foundation through bank accounts in Saudi Arabia (notwithstanding her

residence in the U.S. on student visas) and attended events with Defendant Alasaker in Boston.

Defendant Abuljadayel participated in MiSK’s 2016 Boston leadership development program and


                                              72
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thereafter worked for MiSK to support the same program in 2017, while her husband served as

MiSK’s student activity supervisor.91

       172.    In November 2017—shortly after Defendant Alrajhi came to believe that the

Aljabri family lived in the Mandarin Oriental in Boston, Massachusetts—Defendant bin Salman

and Defendant Alasaker orchestrated a surveillance mission of that very same building using agent

Defendant John Doe 1. On information and belief, the concierge and security personnel for the

Aljabri family residence at the Mandarin Oriental observed Doe surveilling the hotel several times.

On information and belief, Doe ultimately approached the front desk and said he was there to visit

Dr. Saad. The concierge connected Doe by telephone with Khalid, who advised that Dr. Saad was

not presently at the Boston, Massachusetts home. On information and belief, the FBI has

investigated the identity of the John Doe.

       173.    Finally, in December 2017, Defendant bin Salman’s agent Defendant Bijad

Alharbi traveled to Boston, Massachusetts and arranged a meeting with Dr. Saad’s son

Mohammed in Boston, Massachusetts. At the time, the Aljabri family trusted Defendant Alharbi

because he had worked for many years in Saudi Arabia in close cooperation with Dr. Saad and Mr.

bin Nayef. On information and belief, Defendant Alharbi was motivated to obey Defendant bin

Salman’s directives to demonstrate his loyalty to Defendant bin Salman during this time in an

attempt to avoid the same fate as other associates of Mr. bin Nayef: arrest, detention, or worse.

During the dinner with Dr. Saad’s son, Defendant Alharbi asked highly intrusive and unusual



91
    Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter (July 30, 2016, 11:41 PM),
https://twitter.com/drlaylaaj/status/759594914590187520; ‫@( صحيفة مبتعث‬Mbt3thOnline), Twitter
(Aug. 5, 2017, 4:04 AM), https://twitter.com/Mbt3thOnline/status/893744555660627968.
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questions about Dr. Saad, causing Mohammed to become suspicious and fearful of his intentions.

For example, Defendant Alharbi requested information about the precise locations of Dr. Saad and

his family members and about Dr. Saad’s travel patterns. Mohammed subsequently warned his

father about Defendant Alharbi.

       174.    Defendant Alharbi then traveled to Toronto and confirmed for Defendant bin

Salman the current location of Dr. Saad. Defendant Alharbi unexpectedly appeared at Dr. Saad’s

office as an investor in the telecommunications company that employed Dr. Saad.

Notwithstanding his son’s warning, Dr. Saad believed at the time that he could trust his long-time

former associate, although he took precautions to ensure that Defendant Alharbi did not learn his

home address. Defendant Alharbi met with Dr. Saad and repeatedly tried to convince Dr. Saad to

travel to Turkey, under the pretext that Dr. Saad was lonely in Toronto and should visit his family

there. Dr. Saad, at this point himself becoming intensely suspicious notwithstanding his past

relationship with Defendant Alharbi, refused to do so. As an agent of Defendant bin Salman,

Defendant Alharbi knew that Dr. Saad would be more vulnerable to Defendant bin Salman’s Tiger

Squad—and an attempt to render or execute him—as the murder of Khashoggi later proved. And

Defendant Alharbi finally succeeded in the mission of the hunt: pinpointing Dr. Saad’s location so

that Defendant bin Salman’s Tiger Squad knew where to find its target.

       B. Defendant bin Salman Attempts to Physically Constrain Dr. Saad’s Movements
          through INTERPOL

       175.    Defendant bin Salman ultimately made good on his September 2017 threat to make

Dr. Saad the target of a worldwide manhunt that would restrict Dr. Saad’s movements, leaving




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him vulnerable to be killed. “There is no state in the world that would refuse to turn you over,”

Defendant bin Salman insisted in a September 10, 2017 WhatsApp message to Dr. Saad.

        176.   When Dr. Saad refused to return to Saudi Arabia, Defendant bin Salman arranged

for the filing of a notice about Dr. Saad and his family with INTERPOL—an intergovernmental

law enforcement agency of which the United States is a member—founded on baseless corruption

allegations. Indeed, on information and belief, Defendant bin Salman caused an arrest warrant to

be issued on or around September 12, 2017— just two days after Defendant bin Salman’s threat—

and a diffusion notice based on the warrant was thereafter filed with INTERPOL. As a result,

Defendant bin Salman put law enforcement in more than 190 countries, including the United

States, on the lookout for Dr. Saad and his family should they attempt to enter or exit their

country.92 It was an attempt to trap Dr. Saad, making him more vulnerable to Defendant bin

Salman’s attempt to extrajudicially kill him.

        177.   Indeed, Defendant bin Salman’s campaign to trap Dr. Saad and his family had some

success. In late 2017, Dr. Saad’s wife Nadyah and their sons Sulaiman Saad K. Aljabri and

Mohammed Aljabri attempted to travel from Istanbul, Turkey to re-unite with Dr. Saad, but they

were prohibited from leaving the country at the airport, and thus trapped in Turkey. As such, they

served as yet another point of leverage for Defendant bin Salman to coerce Dr. Saad to travel to

Turkey—where Khashoggi was killed, and where Dr. Saad would be highly vulnerable to the same

fate.


92
   Defendant bin Salman caused the filing of a diffusion notice with INTERPOL. Such a notice
asks member countries of INTERPOL to restrict travel or take other actions against the target.
About Notices, INTERPOL, https://www.interpol.int/en/How-we-work/Notices/About-Notices
(last visited Aug. 4, 2020).
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          178.   Dr. Saad applied to the Commission for the Control of INTERPOL’s Files (“the

Commission”) for the removal of any information or notice that could cause Dr. Saad to be arrested

and returned to Saudi Arabia. On July 4, 2018, the Commission determined that Saudi Arabia had

lodged information about Dr. Saad and his family with INTERPOL for improper purposes,

contrary to INTERPOL’s Constitution, including because “unjustified restrictive measures on his

family members suggest the case is politically motivated rather than strictly juridical.”93 The

Commission identified that Defendant bin Salman—through his “direct involvement”—had used

corruption allegations as a political tool “to further consolidate his already existing political and

economic power,” with targets subject to torture, “severe ill-treatment,” and death.94          The

Commission required INTERPOL to delete the information and notice about Dr. Saad

immediately.

          179.   On information and belief, since Defendant bin Salman was rebuffed by

INTERPOL, he has persisted in a deceptive attempt to bolster the corruption allegations against

Dr. Saad to create a pretext for limiting Dr. Saad’s movements and rendering him back to Saudi

Arabia.

          180.   On information and belief, as recently as June 2020, Defendant bin Salman’s agents

selectively disclosed information to journalists from the Wall Street Journal and the Washington

Post about the same allegedly corrupt financial transactions on the part of Dr. Saad and Mr. bin

Nayef that INTERPOL had already deemed “politically motivated.” On information and belief,


93
   Request concerning Saad Aljabri (Ref. CCF/R960.17): Decision of the Commission (105th
session, July 2-5, 2018), The Commission for the Control of INTERPOL’s Files ¶ 79, July 4, 2018.
94
     Id. ¶¶ 69, 71–72.
                                                 76
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Defendant bin Salman’s agents also disclosed misleading documents in an attempt to create

misimpressions in the United States about Dr. Saad’s activities. These misleading disclosures have

resulted in significant and harmful effects within the United States. On July 17, 2020, the Wall

Street Journal published an article—sourced primarily from Defendant bin Salman’s agents—with

misleading information about Defendant bin Salman’s baseless allegations that refers to Dr. Saad

as an “international fugitive.”95 In July 2020, the Al Arabiya TV network, founded by members

of the Saudi royal family and with an office in Washington D.C.,96 seized on the Wall Street

Journal article to further smear Dr. Saad and his supporters in the U.S. Intelligence Community.

For example, Al Arabiya’s coverage has referred to Dr. Saad as a “fugitive” and a “thief” who has

caused a “scandal” implicating not only Dr. Saad but also former U.S. intelligence officials who

support him.97

       181.      By attempting to smear Dr. Saad within the United States, Defendant bin Salman

and his agents have persisted in a campaign to remove impediments within the United States to

the broader campaign to render Dr. Saad back to Saudi Arabia.


95
    Saudi Arabia Wants its Fugitive Spymaster Back, Wall St. J., July 17, 2020,
https://www.wsj.com/articles/a-spymaster-ran-off-after-saudis-say-billions-went-missing-they-
want-him-back-11595004443?redirect=amp#click=https://t.co/77U2bKNH7U.
96
   Press Release, Al Arabiya News, Al Arabiya to Launch New Subtitled Service via English
Website Service to be Unveiled Today at the News Channel's First ‘Global Discussion’ Forum in
Dubai (Nov. 30, 2013), https://www.prnewswire.com/news-releases/al-arabiya-to-launch-new-
subtitled-service-via-english-website-service-to-be-unveiled-today-at-the-news-channels-first-
global-discussion-forum-in-dubai-233901231.html (refers to Bureau Chief in Washington, D.C.).
97
         Al      Arabiya,       Facebook         (July       18,        2020,         8:00       PM),
https://m.facebook.com/AlArabiya/videos/2492096491089290/; Fahd Ibrahim Al Doghayther,
Aljabri…The         Big       Breach,         Al        Arabiya,          July        22,       2020,
https://www.alarabiya.net/ar/politics/2020/07/22/ ‫الكبير‬-‫االختراق‬-‫( الجبري‬last visited July 29, 2020)
(quotations based on professional translations from original Arabic language).
                                                 77
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     C. Defendant bin Salman Demands the Closure of Dr. Saad’s Bank Account

          182.   Beyond the personal threats and harm to Dr. Saad’s family, Defendant bin Salman

also used asset seizure as an attempt to remotely trap Dr. Saad so that he could be targeted and

killed.

          183.   Indeed, on November 7, 2017 and November 27, 2017, Dr. Saad’s bank accounts

in Saudi Arabia, as well as the bank accounts of his children Omar and Sarah, were frozen by

Defendant bin Salman. Defendant bin Salman also expropriated Sky Prime Aviation, a private jet

charter service in which Dr. Saad had an interest.

          184.   This conduct was part of a broader attempt on the part of Defendant bin Salman to

consolidate his grip on power within Saudi Arabia by detaining royal family members, dozens of

government ministers, and many of the most prominent members of Saudi Arabia’s business and

media elite—all allegedly due to unspecified allegations of “corruption.” The targets were

detained in the Ritz Carlton Hotel in Riyadh, Saudi Arabia and their assets were seized. At least

17 of the detained victims required medical treatment.98

          185.   On November 6, 2017, President Trump tweeted his support for Defendant bin

Salman’s actions, writing “I have great confidence in King Salman and the Crown Prince of Saudi




98
   Ben Hubbard & David D. Kirkpatrick, The Upstart Saudi Prince Who’s Throwing Caution to
the          Winds,        N.Y.          Times           (Nov.         14,        2017),
https://www.nytimes.com/2017/11/14/world/middleeast/saudi-arabia-mohammed-bin-
salman.html.

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Arabia, they know exactly what they are doing . . . . Some of those they are harshly treating have

been ‘milking’ their country for years!”99

           186.   Defendant bin Salman’s conduct continued into 2019, when, on information and

belief, he sought the closure of certain bank accounts held by Dr. Saad and his sons in Washington,

D.C., claiming that legitimate financial transactions were fraudulent.

      V.      Defendant bin Salman Dispatches a Murder Squad and Pursues Other Direct
              Efforts to Extrajudicially Kill Dr. Saad

           187.    With Dr. Saad’s physical location finally confirmed by Defendant Alharbi, the

next step in Defendant bin Salman’s attempted extrajudicial killing involved deploying a hit squad

to carry out the final act of the attempted extrajudicial killing.

           188.   Defendant bin Salman’s efforts to bait Dr. Saad back to Saudi Arabia and hunt him

down have ultimately been in service of the only way to guarantee Dr. Saad poses no threat to

Defendant bin Salman’s ascension and consolidation of influence among key figures in the U.S.

Intelligence Community: extinguishing Dr. Saad’s life. Throughout Defendant bin Salman’s

brutal campaign, he has directly threatened the use of “measures that would be harmful to you.”100

And his actions make clear he meant what he said. After repeated efforts to lure Dr. Saad to more

favorable jurisdictions, after repeated efforts to identify Dr. Saad’s physical location in the United

States and elsewhere, and after agent Defendant Alharbi pinpointed Dr. Saad’s location in Toronto,




99
     Donald J. Trump (@realDonaldTrump), Twitter (Nov.                      6,   2017    6:03   PM),
https://twitter.com/realDonaldTrump/status/927672843504177152.
100
      WhatsApp messages from Defendant bin Salman to Dr. Saad (Sept. 10, 2017, 4:56 PM AST).
                                                  79
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on or around October 15, 2018, Defendant bin Salman dispatched a kill team from the Tiger Squad

to travel across the Atlantic Ocean to kill Dr. Saad.

      A. The U.S. Intelligence Community Warns Their Partner Dr. Saad that His Life is in Danger

          189.   In the face of increasing threats against Dr. Saad’s life in the United States, Canada,

and Saudi Arabia, the U.S. Intelligence Community warned Dr. Saad of the ongoing threat and

communicated their intention to assist in efforts to protect the life of Dr. Saad and his family.

These actions were consistent with public reporting that the CIA and other U.S. agencies were

concerned that Defendant bin Salman’s actions could “damage U.S. interests.”101

          190.   Specifically, on January 7, 2018, federal officials stopped Dr. Saad’s son Khalid at

Boston Logan International Airport in Boston, Massachusetts, and he was escorted to a private

meeting with two FBI agents. The FBI agents warned Khalid that they had learned of credible

threats to the life of Dr. Saad and his family, including Defendant bin Salman’s campaign to hunt

Dr. Saad and his family in the United States, and urged them to exercise caution. The FBI agents

emphasized to Khalid that they were helping Dr. Saad and his family.102

          191.   Similarly, a representative from a U.S. government agency told Khalid in the

summer of 2018 that “everything” was “taken care of,” explaining that the U.S. government had a




101
      Hubbard & Kirkpatrick, supra note 98.
102
    U.S. intelligence agencies have a duty to warn persons—including non-U.S. persons like Dr.
Saad—if the agency “collects or acquires credible and specific information indicating an
impending threat of intentional killing, serious bodily injury, or kidnapping.” Director of National
Intelligence, Intelligence Community Directive 191: Duty to Warn 2, July 21, 2015,
https://fas.org/irp/dni/icd/icd-191.pdf. U.S. intelligence agencies are to consult with the FBI or the
CIA to determine the best method to communicate threats to the intended victim. Id.
                                                   80
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“moral obligation” to protect Dr. Saad and his family. The U.S. government official indicated the

U.S. government was “taking care” of Dr. Saad.

         192.   While the U.S. government has thus far aided in the efforts to protect Dr. Saad’s

life, it has been unable to prevent a credible attempt on Dr. Saad’s life by Defendant bin Salman’s

agents, an attempt which remains ongoing to this day.

      B. Defendant bin Salman’s Tiger Squad Kills Washington Post Journalist Jamal Khashoggi

         193.   Defendant bin Salman’s extrajudicial campaign targeting Saudis with the ears of a

U.S. audience was not limited to Dr. Saad for his access to the U.S. Intelligence Community and

wealth of knowledge about the workings of Defendant bin Salman and the Saudi Royal Court. As

is now well known, Defendant bin Salman also successfully orchestrated the extrajudicial killing

of Jamal Khashoggi, who was connected to the Washington, D.C. foreign policy elite.103

         194.   Khashoggi had developed a reputation as a Beltway insider connected to academics

and think tanks in Washington, D.C. that influence the U.S. Intelligence Community and foreign

policy establishment with respect to Saudi Arabia. United Nations Special Rapporteur Agnes

Callamard said that Khashoggi was “known to many people in Washington [D.C.].”104 Other

insiders considered him one of “the club”—one of the “the members of Congress, journalists,

staffers, consultants, lobbyists, pundits and influencers who make a living in the circus of public


103
   Robin Wright, Jamal Khashoggi’s Murder Haunts Saudi Arabia’s Crown Prince, New Yorker,
Oct. 2, 2019, https://www.newyorker.com/news/our-columnists/jamal-khashoggis-murder-
haunts-saudi-arabias-crown-prince.
104
   Transcript, Investigating the Khashoggi Murder: Insights from U.N. Special Rapporteur Agnes
Callamard, Brookings Inst. 2, July 2, 2019, https://www.brookings.edu/wp-
content/uploads/2019/06/fp_20190702_callamard_khashoggi_transcript.pdf.

                                                81
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affairs driven by the happenings of the United States Congress.”105 He regularly spoke at highly

regarded think tanks in Washington D.C., including the Brookings Institute and the Washington

Institute for Near East Policy.106 Indeed, Defendant bin Salman initially banned Khashoggi from

writing in newspapers and appearing on television in Saudi Arabia after Khashoggi criticized then-

President-elect Trump at a think tank in Washington, D.C., undermining Defendant bin Salman’s

plan to win the support of the Trump administration.107 And at the Washington Post, Khashoggi

was writing for a publication that could undermine the reception in Washington, D.C. to Defendant

bin Salman’s narrative of economic and social reform.

          195.   Khashoggi—who had insider knowledge on Saudi Arabia’s dealings with al-Qaeda

prior to September 11, 2001 and a personal relationship with Osama bin Laden prior to his

radicalization—was also regarded as a source of information on Saudi Arabia by the U.S.




105
   Don Calloway, The Difference with Khashoggi: He Was a Member of our Club, Hill, Oct. 19,
2018, https://thehill.com/opinion/white-house/412216-the-difference-with-khashoggi-he-was-a-
member-of-our-club.
106
   See, e.g., Jamal Khashoggi et al., A New President and the Middle East, Wash. Inst. (Nov. 15,
2016),         https://www.washingtoninstitute.org/policy-analysis/view/a-new-president-and-the-
middle-east; Investigating the Khashoggi Murder, supra note 104, at 2.
107
      Osborne, supra note 50.

                                               82
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Intelligence Community.108 For example, when searching for information on the September 11,

2001 attacks, a former F.B.I. agent contacted Khashoggi.109

            196.   In the midst of Defendant bin Salman’s efforts to tour the United States in the spring

of 2018, Defendant bin Salman orchestrated a scheme to lure Khashoggi back to Saudi Arabia

with the intention of detaining him. Acting at Defendant bin Salman’s direction, senior Saudi

officials contacted Khashoggi to offer him a position in government if he returned.110 For example,

Defendant Alqahtani called Khashoggi in May 2018 in an attempt to convince Khashoggi to return

to Saudi Arabia111—much like personal outreach by Defendant bin Salman and Defendant

Alasaker to secure Dr. Saad’s return to Saudi Arabia.

            197.   Khashoggi did not return to Saudi Arabia. Instead, when he entered the Saudi

consulate in Istanbul, Turkey on October 2, 2018, a team of the Tiger Squad, directed by Defendant




108
    UN Special Rapporteur Report ¶ 61; Liz Sly, From Travels with bin Laden to Sparring with
Princes: Jamal Khashoggi’s Provocative Journey, Wash. Post, Oct. 7, 2018,
https://www.washingtonpost.com/world/from-travels-with-bin-laden-to-sparring-with-princes-
jamal-khashoggis-provocative-journey/2018/10/07/c1290f28-ca3d-11e8-ad0a-
0e01efba3cc1_story.html.
109
    Souad Mekhennet & Greg Miller, Jamal Khashoggi’s Final Months as an Exile in the Long
Shadow         of     Saudi      Arabia,      Wash.       Post,    Dec.       22,     2018,
https://www.washingtonpost.com/world/national-security/jamal-khashoggis-final-months-an-
exile-in-the-long-shadow-of-saudi-arabia/2018/12/21/d6fc68c2-0476-11e9-b6a9-
0aa5c2fcc9e4_story.html.
110
   Shane Harris, Crown Prince Sought to Lure Khashoggi Back to Saudi Arabia and Detain Him,
U.S.       Intercepts       Show,        Wash.         Post,      Oct.       10,      2018,
https://www.washingtonpost.com/world/national-security/crown-prince-sought-to-lure-
khashoggi-back-to-saudi-arabia-and-detain-him-us-intercepts-show/2018/10/10/57bd7948-cc9a-
11e8-920f-dd52e1ae4570_story.html.
111
      Id.

                                                    83
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bin Salman and under the supervision of Defendant Alqahtani and Defendant Alassiri, was lying

in wait.112 Khashoggi was never again seen alive.113

          198.    The team had traveled from Saudi Arabia to Istanbul in two separate groups before

the murder.114

          199.    Inside the consulate, the Tiger Squad team first told Khashoggi that he needed to

return to Saudi Arabia.115 According to audio recordings from inside the Saudi consulate,

members of the Tiger Squad told Khashoggi: “We will have to take you back. There is an order

from Interpol. Interpol requested you to be sent back. We are coming to get you.”116 As described

above, that threat fit Defendant bin Salman’s tactics against Dr. Saad, using INTERPOL to restrict

his movements.

          200.    When Khashoggi protested, the Tiger Squad ambushed, suffocated, and ultimately

dismembered him.117 Limb by limb, with the help of a bone saw, the team—led by a forensic




112
   UN Special Rapporteur Report ¶¶ 89–92; How the Man Behind Khashoggi Murder Ran the
Killing Via Skype, supra note 16.
113
   Clarence Williams, Jamal Khashoggi Remembered in Washington One Year After Journalist’s
Killing, Wash. Post, Oct. 2, 2019, https://www.washingtonpost.com/local/jamal-khashoggi-
remembered-in-washington-one-year-after-journalists-killing/2019/10/02/ee8db6f8-e571-11e9-
a331-2df12d56a80b_story.html.
114
      UN Special Rapporteur Report ¶¶ 82–86.
115
      Id. ¶ 94.
116
      Id. ¶ 94.
117
      Id. ¶¶ 94–96.

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expert, Dr. Salah Mohammed Tubaigy—began to dismember his body.118 Dr. Tubaigy turned on

music so that he could stomach the noise of his own gruesome acts.119 The sounds of a bone saw—

used by forensic crews when conducting an autopsy—can be heard in audio recordings capturing

the final moments of Khashoggi’s life, as the group of killers discussed how to dismember and

dispose of Khashoggi’s body, which they referred to as a “sacrificial animal.”120 The Tiger Squad

ultimately severed the journalist’s fingers and beheaded him.121

          201.   It has been reported that Defendant Alqahtani supervised the Tiger Squad’s killing

in real time over Skype.122

          202.   Further, during the attack, a member of the Tiger Squad placed four telephone calls

to the mobile phone of Defendant Alasaker, keeping Defendant bin Salman’s right-hand man

updated on the events in the Saudi consulate123—just like Defendant Alasaker’s participation in

Defendant bin Salman’s attempt to send a private jet to collect Dr. Saad.




118
    ‘I Can’t Breathe’: Saudi Journalist Khashoggi’s Last Words – CNN, Reuters, Dec. 10, 2018,
https://www.reuters.com/article/us-saudi-khashoggi-turkey/i-cant-breathe-saudi-journalist-
khashoggis-last-words-cnn-idUSKBN1O915N; UN Special Rapporteur Report ¶ 96.
119
      ‘I Can’t Breathe’, supra note 118; UN Special Rapporteur Report ¶ 96.
120
      UN Special Rapporteur Report ¶¶ 91, 96.
121
   David Kirkpatrick & Carlotta Gall, Audio Offers Gruesome Details of Jamal Khashoggi Killing,
Turkish       Official       Says,        N.Y.        Times,        Oct.       17,      2018,
https://www.nytimes.com/2018/10/17/world/europe/turkey-saudi-khashoggi-dismember.html.
122
      How the Man Behind Khashoggi Murder Ran the Killing Via Skype, supra note 16.
123
    Smith, supra note 12; Khashoggi Case: All Previous Updates, Al Jazeera, Nov. 22, 2018,
https://www.aljazeera.com/news/2018/10/khashoggi-case-previous-updates-
181017132822079.html.

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            203.   The Tiger Squad team sent for Khashoggi included Dr. Tubaigy, a forensic

pathologist from the Saudi Ministry of the Interior.124 A forensic pathologist is a physician who

is specially trained to conduct autopsies.125 Dr. Tubaigy was also a Professor in the Department

of Criminal Evidence at Naif Arab University in Riyadh, Saudi Arabia.126 The United Nations

Special Rapporteur, following an extensive investigation, concluded that “There is little plausible

explanation for [Dr. Tubaigy’s] role, other than the role he filled – dismembering and disposing of

the body.”127

            204.   The team also included a high-ranking adviser to Defendant bin Salman from the

Ministry of Foreign Affairs and several Saudi intelligence officers.128 Two members of the Tiger

Squad entered Turkey on a diplomatic passport.129 Because the members of the Tiger Squad had

separate chains of command in their disparate official Saudi government positions, only Defendant

bin Salman would have had the authority to assemble such an interagency team.130

            205.   In the aftermath, Saudi officials went to great lengths to cover up the murder.131 An

audio recording captured Dr. Tubaigy discussing wrapping pieces of the body in plastic sheets,



124
      UN Special Rapporteur Report ¶ 87 Table A.
125
    Forensic Pathology, Encyclopedia Britannica, https://www.britannica.com/science/forensic-
science/Forensic-pathology (last visited Aug. 2, 2020).
126
      UN Special Rapporteur Report ¶ 87 Table A.
127
      Id. ¶ 202.
128
      Id. ¶ 87 Table A.
129
      Id.
130
      Id. ¶¶ 257, 259.
131
      Id. ¶¶ 96–154.

                                                    86
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and the recording captured the sounds of plastic wrapping.132 Saudi officials also forensically

cleaned the crime scene and destroyed evidence.133 Approximately one week after the murder,

additional Saudi officials traveled to Turkey to clean up the crime scene, including a member of

the Ministry of Interior’s General Department of Criminal Evidence, which is tasked with

collecting and removing evidence from crime scenes.134

          206.    No remains of Jamal Khashoggi’s body were ever discovered.135

          207.    The Saudi government initially denied any involvement in Khashoggi’s killing and

subsequently changed its story several times, claiming at various points that Khashoggi fell victim

to a fistfight or was killed in a rogue operation.136 On October 25, 2018, the attorney general of

Saudi Arabia acknowledged the killing of Khashoggi was premeditated, but did not ascribe any

responsibility to Defendant bin Salman.137

          208.    Notwithstanding the international outcry following the gruesome murder, the U.S.-

Based Covert Agent Defendants who hunted Dr. Saad in the fall of 2017 in the United States

voiced their public support for Defendant bin Salman on Twitter. For example,



132
      Id. ¶ 96.
133
      Id. ¶¶ 8, 259.
134
   Id. ¶¶ 119–30; Mohamed Al Madani et al., Origin and Development of Forensic Medicine in
the Kingdom of Saudi Arabia, 33 Am. J. of Forensic Med. & Pathology 149-50 (2012).
135
    In Last Words, Khashoggi Asked Killers Not to Suffocate Him, AP News, Sept. 10, 2019,
https://apnews.com/a25b64eafa75400392dcb6999d394e0d.
136
      UN Special Rapporteur Report ¶¶ 116, 146–51.
137
    Saphora Smith, Saudi Arabia Now Admits Khashoggi Killing was ‘Premeditated’, NBC News,
Oct. 25, 2018, https://www.nbcnews.com/news/world/saudi-arabia-now-admits-khashoggi-
killing-was-premeditated-n924286.

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          a. On October 13, 2018, Defendant Alrajhi tweeted: “#IStandWithSaudiArabia

              always and forever.”138 Later that month, he retweeted a photo of Defendant bin

              Salman.139




          b. On October 24, 2018, Defendant Abuljadayel tweeted a flattering photo of

              Defendant bin Salman as an ardent supporter.140

          c. On December 8, 2018, Defendant Alhamed tweeted that criticism of Defendant

              bin Salman by members of the United States Congress in the wake of the killing is

              “totally unacceptable and a fatal error” because “he represents us all as the youth

              of the Kingdom.”141     Defendant Abuljadayel retweeted Defendant Alhamed’s

              tweet.




138
      Youssef Alrajhi (@YousefAlrajhi1), Twitter (Oct.              13,    2018,    9:22   PM),
https://twitter.com/YousefAlrajhi1/status/1051281943986352129.
139
      ‫@( سعود بن سلمان‬HRHPSAUDS), Twitter (Oct.                    24,    2018,    11:41   AM),
https://twitter.com/HRHPSAUDS/status/1055122085352271872.
140
     Layla Abuljadayel ‫@( ليلى ابوالجدايل‬drlaylaaj), Twitter (Oct. 24, 2018, 11:38 AM),
https://twitter.com/drlaylaaj/status/1055121444135260160.
141
      Mohammed AlHamed (@M7Alhamed), Twitter (Dec. 8, 2018, 4:53 PM),
https://twitter.com/M7Alhamed/status/1071523191607181312 (professional translation from
original Arabic language tweet).

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          209.    In November 2018, a leaked assessment by the CIA concluded with “high

confidence” that Defendant bin Salman personally ordered Khashoggi’s killing.142            That

conclusion severely injured Defendant bin Salman’s standing and reputation in the United States

and other western countries.143

          210.    On information and belief, Defendant bin Salman believes that Dr. Saad is

responsible for the CIA’s conclusion, which was based not on “smoking gun” evidence of

Defendant bin Salman’s involvement but rather on “an understanding of how Saudi Arabia

works”—an understanding which no one has better than Dr. Saad.144 Specifically, on information

and belief, Defendant bin Salman believes that after the killing, Dr. Saad engaged the CIA to

discuss specifics of the plot, and that engagement led to the CIA’s conclusion that Defendant bin

Salman was personally involved.



142
      Harris et al., supra note 5.
143
      Hubbard, supra note 6.
144
    Warren Strobel, CIA Concludes Saudi Journalist Was Killed on Crown Prince’s Order, Wall
St. J. (Nov. 17, 2018), https://www.wsj.com/articles/cia-concludes-saudi-journalist-was-killed-
on-the-crown-princes-order-1542412388.

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       211.    The following month, on November 15, 2018, the U.S. Department of Treasury’s

Office of Foreign Assets Control (“OFAC”) sanctioned Defendant Alqahtani, Dr. Tubaigy, and

fourteen other members of the Tiger Squad.145           OFAC sanctioned the individuals because

“individuals who targeted and brutally killed a journalist who resided and worked in the United

States must face consequences for their actions.”146 When the government of the United Kingdom

issued similar sanctions on July 6, 2020, it concluded that Defendant Alqahtani had “planned and

directed” the killing using the Tiger Squad.147

       212.    After information about the CIA’s assessment was leaked in November 2018, and

notwithstanding the OFAC sanctions, President Trump cast doubt on the CIA’s conclusions,

particularly the extent of Defendant bin Salman’s involvement. “Our intelligence agencies

continue to assess all information, but it could very well be that the Crown Prince had knowledge

of this tragic event – maybe he did and maybe he didn’t! That being said, we may never know all

of the facts surrounding the murder of Mr. Jamal Khashoggi.”148



145
    Press Release, Treasury Sanctions 17 Individuals for Their Roles in the Killing of Jamal
Khashoggi, U.S. Dep’t Treas. (Nov. 15, 2018), https://home.treasury.gov/news/press-
releases/sm547.
146
   Id. These sanctions were based in part on the Global Magnitsky Human Rights Accountability
Act, enacted in December 2016, according to which the President of the United States may impose
sanctions on “any foreign person the President determines, based on credible evidence—is
responsible for extrajudicial killings, torture, or other gross violations of internationally recognized
human rights” committed against certain individuals in a foreign country. Pub. L. 114-328, Sec.
1263(a)(1).
147
      The UK sanctions list, United Kingdom Government                            (July    6,    2020),
https://www.gov.uk/government/publications/the-uk-sanctions-list.
148
   Statement from President Donald J. Trump on Standing with Saudi Arabia, White House (Nov.
20, 2018), https://www.whitehouse.gov/briefings-statements/statement-president-donald-j-trump-
standing-saudi-arabia/.
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      C. Defendant bin Salman’s Tiger Squad Attempts an Extrajudicial Killing of Dr. Saad

         213.   Just thirteen days after the brutal murder of Khashoggi, and while blame for that

murder had not yet been attributed to Defendant bin Salman, he orchestrated a markedly similar

attack on another target: Dr. Saad.

         214.   As with Khashoggi, Dr. Saad fled Saudi Arabia in September 2017.

         215.   As with Khashoggi, Defendant bin Salman had first tried to lure Dr. Saad back to

Saudi Arabia. That effort failed.

         216.   As with Khashoggi—whose children were also subject to a travel ban imposed in

2017—Defendant bin Salman targeted Dr. Saad’s children in an attempt to lure Dr. Saad back to

Saudi Arabia.149 Although the detention of his children remains ongoing, it has not secured Dr.

Saad’s return to Saudi Arabia.

         217.   Defendant bin Salman then attempted to convince Dr. Saad to travel to Turkey—

where Khashoggi was murdered and where Defendant bin Salman could easily do the same to Dr.

Saad. This effort also failed.

         218.   Unable to lure him out of hiding, Defendant bin Salman directed an effort in the

United States involving the U.S.-Based Covert Agent Defendants to locate Dr. Saad.




149
    Like the travel ban against Dr. Saad, Defendant bin Salman imposed a travel ban against
Khashoggi’s four children soon after he fled Saudi Arabia in September 2017. John Haltiwanger,
Killed Journalist Jamal Khashoggi’s Children, Some of Whom are Dual US Citizens, Are
Reportedly Barred from Leaving Saudi Arabia, Bus. Insider (Oct. 24, 2018),
https://www.businessinsider.com/khashoggis-children-are-reportedly-barred-from-leaving-saudi-
arabia-2018-10.

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       219.    Defendant bin Salman then directed another Tiger Squad team to meet Dr. Saad

wherever he could be found—even if that meant sending a hit squad across the Atlantic Ocean.

       220.    On information and belief, after the U.S.-Based Covert Agent Defendants

successfully located Dr. Saad in Canada, Defendant bin Salman and his agents hatched this specific

plot to kill Dr. Saad no later than May 2018, when the Tiger Squad Defendants obtained visas to

enter Canada for the purposes of “tourism.”150

       221.    Soon thereafter, in or around July 2018, on information and belief, Defendant bin

Salman or his agents remotely planted malware in Dr. Saad’s personal phones—another method

that had also been used to track the whereabouts and activities of Khashoggi.151 Dr. Saad received

a WhatsApp message with a video file from a Saudi journalist whom he had known in Saudi

Arabia, even though they had not been in touch for years. On information and belief, the video

file contained malware allowing Defendant bin Salman and his agents to access the information

on Dr. Saad’s phone, and potentially even Dr. Saad’s precise location.

       222.    Thus, after luring, hunting, and hacking Dr. Saad, Defendant bin Salman went for

the kill. On or around October 15, 2018, a team consisting of some of the Tiger Squad Defendants,


150
    It was not the first time that Defendant bin Salman’s agents planned to enter Canada for illicit
purposes. It has been reported that in May 2018, agents acting at the direction of Defendant bin
Salman and Defendant Alqahtani traveled to Canada in an attempt to lure online dissident Omar
Abdulaziz back to Saudi Arabia. See Loveday Morris & Zakaria Zakaria, Secret Recordings Give
Insight into Saudi Attempt to Silence Critics, Wash. Post, Oct. 17, 2018,
https://www.washingtonpost.com/world/secret-recordings-give-insight-into-saudi-attempt-to-
silence-critics/2018/10/17/fb333378-ce49-11e8-ad0a-0e01efba3cc1_story.html.
151
   Similarly, on or about June 23, 2018, agents of Defendant bin Salman remotely planted malware
on the smartphone of Omar Abdulaziz, a Saudi dissident living in Canada who was in close contact
with Khashoggi at the time. First Amended Complaint ¶ 101, Abdulaziz v. Twitter, No. 3:19-cv-
06694 (N.D. Cal. Feb. 11, 2020), ECF No. 38.
                                                 92
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all Saudi nationals, arrived at Ontario International Airport in Ontario, Canada. Although they

held tourist visas, in fact they planned to enter the country for the purpose of killing Dr. Saad. On

information and belief, the Tiger Squad team that traveled to Canada included, at minimum,

Defendants Algasem, Alsayed, Alhomid, and Alhaqbani.

       223.    Notwithstanding the then-ongoing international uproar as a result of Khashoggi’s

killing, at the time the Tiger Squad Defendants attempted to enter Canada, it appeared that

Defendant bin Salman was going to get away with the crime. For example, on October 15, 2018—

on or around the same day the Tiger Squad Defendants attempted to enter Canada to kill Dr.

Saad—President Trump touted Defendant bin Salman’s “flat denial” of involvement in the

Khashoggi killing, suggesting instead that “these could have been rogue killers. Who knows?”152

       224.    The Tiger Squad Defendants that were assembled to kill Dr. Saad included different

individuals than those Tiger Squad members who had killed Khashoggi, but the composition of

the team was markedly similar. Like the team that traveled to Istanbul to murder Khashoggi, the

Tiger Squad team assembled to kill Dr. Saad consisted of an interagency group of employees

selected from across the Saudi government, including forensic DNA experts from the General

Department of Criminal Evidence in the Ministry of Interior, a senior military intelligence officer

with the Ministry of Defense, and a diplomatic officer in the Ministry of Foreign Affairs. They

were united only in their loyalty to Defendant bin Salman and their readiness to carry out his

personal vendettas, including through torture and murder.




152
       NBC       Politics (@NBCPolitics),     Twitter  (Oct.          15,    2018,     9:58     AM)
https://twitter.com/NBCPolitics/status/1051834806164709377.
                                                 93
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          225.   Notably, the Tiger Squad Defendants who Defendant bin Salman, Defendant

Alqahtani, and Defendant Alassiri dispatched to Canada to kill Dr. Saad included Defendant

Algasem and Defendant Alsayed, forensic DNA experts who worked for the General Department

of Criminal Evidence in the Ministry of Interior. Defendant Alsayed holds the rank of lieutenant

colonel, making him a senior member of that department. The General Department of Criminal

Evidence is responsible for collecting and removing evidence in the course of criminal

investigations. DNA specialists within the General Department of Criminal Evidence would be

tasked with collecting and analyzing DNA in human bodily fluids and trace evidence from a crime

scene on clothing and other surfaces, according to a peer-reviewed article on Saudi forensic

medicine in The American Journal of Forensic Medicine and Pathology.153

          226.   In addition, Defendant Alsayed taught a course focused on collecting and

identifying “dead bodies and body parts from disasters” in the Department of Criminal Evidence

at Naif Arab University for Security Sciences in Riyadh, Saudi Arabia alongside Dr. Tubaigy, the

forensic pathologist who used a bone saw to dismember Khashoggi. According to a 2016 course

syllabus, Defendant Alsayed taught students how to use forensic evidence to identify victims

where a body has been destroyed in a disaster.154 Those skills would also apply to ensuring that

evidence of a body dismembered beyond recognition is never discovered—like in the case of

Khashoggi.




153
      Al Madani et al., supra note 134, at 149–50.
154
   Naif Arab University for Security Sciences, supra note 39 (professionally translated from the
Arabic language syllabus).
                                                     94
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       227.    Furthermore, on information and belief, this Tiger Squad team, like the one

deployed to kill Khashoggi, was overseen by Defendants Alqahtani and Alassiri.

       228.    When the Tiger Squad Defendants attempted to clear customs at Ontario

International Airport, each approached a separate kiosk for the Canada Border Services Agency

(“CBSA”), rather than presenting as a group. In response to initial questioning from CBSA

officers, some of the Tiger Squad Defendants claimed not to know the others.

       229.    On information and belief, CBSA officers quickly became suspicious of the Tiger

Squad Defendants—the majority of whom were attempting to enter the country on tourist visas—

and sent them to secondary screening. Even when assembled as a group, they continued to deny

their knowledge of the other Tiger Squad Defendants.

       230.    On information and belief, when searching through the Tiger Squad Defendants’

luggage, CBSA officers discovered photographic evidence that, contrary to certain of these

Defendants’ claims, the members did, in fact, know each other. Indeed, the CBSA officers found

a group photo depicting some of the Tiger Squad Defendants together.

       231.    On information and belief, CBSA officers also discovered “forensic tools” in the

luggage of some of the Tiger Squad Defendants. Notwithstanding these tools, and notwithstanding

their positions in the Saudi government, the Tiger Squad Defendants insisted that they wanted to

enter Canada as tourists.

       232.    On information and belief, the Tiger Squad Defendants—who were not prepared

for this unexpectedly thorough investigation—became panicked and summoned an attorney from

the Embassy of Saudi Arabia. On information and belief, the attorney was overheard suggesting

that the group should falsely claim that they had traveled to Canada to prepare for an upcoming
                                              95
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“VIP delegation” visiting Canada. On information and belief, in an attempt to halt further

questioning from CBSA officers, the Embassy attorney was overheard advising the Tiger Squad

Defendants to accept deportation back to Saudi Arabia. Thus, CBSA officers refused to allow the

would-be killers into the country, except for Defendant Alhomid, who was permitted to enter

Canada with a diplomatic passport.




    Defendant Alhomid has also used his diplomatic passport to enter the United States,
                  shown here at the United Nations Security Council

       233.    Because most of the Tiger Squad Defendants were turned away from the country,

they were unable to carry out the killing of Dr. Saad.

   D. Defendant bin Salman Obtains a Fatwa Endorsing the Extrajudicial Killing of Dr. Saad

       234.    In or around May 2020, after the Aljabri family was quoted in media coverage of

the disappearance of Omar and Sarah that appeared in the United States, Defendant bin Salman

again vowed to murder Dr. Saad, this time with renewed vigor and using covert travel through the

                                                96
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United States in an effort to escape the detection that thwarted the Tiger Squad’s October 2018

mission.

       235.       Specifically, upon information and belief, Defendant bin Salman convened a

meeting with close advisors in Neom, Saudi Arabia in or around May 2020, where they were

overheard saying that he had obtained a fatwa for the killing of Dr. Saad. A fatwa is a ruling by

religious authorities that particular conduct—in this case, the killing of Dr. Saad—is

permissible.155

       236.       At the same meeting, Defendant bin Salman and his agents were also overheard

saying that they planned to send men to kill Dr. Saad in Canada “by land” this time—that is, by

dispatching agents from the United States to travel across the border into Canada to complete the

job. Undoubtedly, Defendant bin Salman changed his tactics in response to the Tiger Squad’s

failed attempts to enter Canada in October 2018.

       237.       As a result of Defendant bin Salman’s fatwa, the newest stage of a multi-year

campaign of execution, Dr. Saad’s life remains in dire peril to this day.

       238.       Defendants’ attempted extrajudicial killing of Dr. Saad has caused indescribable

pain to Dr. Saad. He lives in a state of extreme fear and anxiety, with insomnia and other physical

effects, all because of the past credible attempts on his life and the knowledge that Defendant bin

Salman wants him dead and is continuing to work, with seeming impunity, toward that ultimate

objective.




155
    Muhammad Khalid Masud et al., Fatwā, Oxford Islamic Studies Online (July 15, 2020),
http://www.oxfordislamicstudies.com/article/opr/t236/e0243.
                                                 97
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                                  GENERAL ALLEGATIONS

       239.    The acts described herein were carried out under actual or apparent authority or

color of law of the government of Saudi Arabia.

       240.    Defendants bin Salman, Alqahtani, Alassiri, and Alasaker are personally liable for

acts of attempted extrajudicial killing by virtue of their direct or indirect participation, including

committing certain acts themselves or directing or ordering their subordinates to commit certain

acts, including the U.S.-Based Covert Agent Defendants and the Tiger Squad Defendants. These

acts violate the TVPA, are violations of the law of nations actionable under the ATS, and constitute

intentional infliction of emotional distress.

       241.    Defendants bin Salman, Alqahtani, Alassiri, and Alasaker are also liable because

they conspired with, or aided and abetted, subordinates, including the Tiger Squad Defendants and

the U.S.-Based Covert Agent Defendants. Defendants bin Salman, Alqahtani, and Alasaker are

therefore also jointly and severally liable for the actions of the Tiger Squad Defendants and the

U.S.-Based Covert Agent Defendants, all of which were actions undertaken as part of a common

plan, design, and scheme.

       242.    Likewise, MiSK, the Tiger Squad Defendants, and the U.S.-Based Covert Agent

Defendants are personally liable for acts of attempted extrajudicial killing by virtue of their direct

or indirect participation, and because they conspired with, or aided and abetted the commission of

these acts, which violate the TVPA, are violations of the law of nations actionable under the ATS,

and constitute intentional infliction of emotional distress.

       243.    In particular, the relationships between and coordination among each of the

Defendants demonstrates that Defendants had ample opportunity to and in fact did agree to commit
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unlawful acts. Further, Defendants committed several overt acts in furtherance of the scheme,

including but not limited to traveling to Boston, Massachusetts and contacting members of Dr.

Saad’s family in an effort to locate him; traveling to Canada with the intent to murder Dr. Saad,

including the tools and personnel necessary to cover up the crime; and kidnapping Dr. Saad’s

children in an effort to compel him to return to Saudi Arabia. Each of these acts was designed to

facilitate Dr. Saad’s swift killing because his close ties to the U.S. Intelligence Community stand

in the way of Defendant bin Salman’s consolidation of influence and power among U.S.

government officials. Moreover, these overt acts directly and proximately caused injury to Dr.

Saad in the form of severe emotional stress and the physical manifestations of that harm, as well

as the injury to property through his frozen accounts and expropriated property.

       244.    For its part, MiSK conspired with Defendants bin Salman and Alasaker to covertly

recruit individuals to serve as agents and who participated in the hunt for Dr. Saad, including in

the United States. Further, insofar as MiSK operated as a front for Defendant bin Salman and

Defendant Alasaker, MiSK is liable for their conduct.

       245.    Further, each Defendant knowingly and substantially assisted with the commission

of the attempted extrajudicial killing. Defendants bin Salman, Alqahtani, Alassiri, and Alasaker

planned, oversaw, and coordinated the tracking of Dr. Saad in the United States as well as the

mission to kill Dr. Saad in Canada. Defendant bin Salman took additional steps to lure Dr. Saad

back to Saudi Arabia, where he could be more easily murdered, including personally sending him

threatening electronic messages via WhatsApp, causing the issuance of false and baseless arrest

warrants, and ordering the detention and disappearance of two of Dr. Saad’s children.



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       246.    MiSK knowingly provided substantial assistance through its actions to recruit

individuals who served as covert agents and helped to hunt Dr. Saad in the United States. At all

times, it was aware of its role in the overall scheme.

       247.    The U.S.-Based Covert Agent Defendants and the Tiger Squad Defendants each

provided substantial assistance by carrying out the orders of their superiors. This included, for the

U.S.-Based Covert Agent Defendants, infiltrating Dr. Saad’s networks in an attempt to locate him,

and, for the Tiger Squad Defendants, obtaining Canadian tourist visas and/or traveling to Canada

with the intent to murder Dr. Saad.

       248.    Each Defendant was aware of his, her, or its role in the overall scheme. Plainly,

the Tiger Squad Defendants understood that they had been dispatched to carry out an unlawful act.

Moreover, by virtue of their connections to Defendants bin Salman and Alasaker (through MiSK

and otherwise), and considering Defendant bin Salman’s history of eliminating his self-selected

targets by any means necessary, the U.S.-Based Covert Agent Defendants were well aware of

Defendant bin Salman’s objectives and the reasons why they were deployed to identify Dr. Saad’s

location.

       249.    In addition, Defendants bin Salman, Alqahtani, and Alassiri possessed and

exercised command and operational control over the Tiger Squad Defendants in connection with

the attempted extrajudicial killing of Dr. Saad. Defendants bin Salman, Alqahtani, and Alassiri

authorized, directed, and permitted the Tiger Squad Defendants to commit violations of the TVPA

and of the law of nations.

       250.    Defendants bin Salman and Alasaker possessed and exercised command and

operational control over the U.S.-Based Covert Agent Defendants in connection with the attempted
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extrajudicial killing of Dr. Saad. Defendants bin Salman and Alasaker authorized, directed, and

permitted the U.S.-Based Covert Agent Defendants to commit violations of the TVPA and of the

law of nations.

       251.       At all relevant times, Defendants bin Salman, Alqahtani, Alassiri, and Alasaker had

the legal authority and practical ability to exert control over their subordinates, including the Tiger

Squad Defendants and the U.S.-Based Covert Agent Defendants, who directly participated in the

attempted extrajudicial killing of Dr. Saad. On information and belief, the attempted extrajudicial

killing was committed pursuant to the authority of Defendants bin Salman, Alqahtani, Alassiri,

and Alasaker.

       252.       The attempted extrajudicial killing of Dr. Saad was part of a pattern and practice of

taking unlawful and violent measures to remove individuals associated with the United States

whom Defendant bin Salman, in particular, viewed as obstacles. At all relevant times, Defendants

bin Salman, Alqahtani, Alassiri, and Alasaker knew of and approved this pattern and practice,

including the violations committed against Dr. Saad. Alternatively, Defendants bin Salman,

Alqahtani, Alassiri, and Alasaker reasonably should have known about this pattern and practice,

including the violations committed against Dr. Saad. Defendants bin Salman, Alqahtani, Alassiri,

and Alasaker failed to take all necessary measures to investigate and prevent these violations of

international law, or to punish personnel under their command for committing such abuses.

       253.       Dr. Saad does not have access to a fair and impartial legal system in Saudi Arabia

and seeking redress in that forum for claims involving the named defendants would be futile.

Accordingly, Dr. Saad is not required to exhaust local remedies.



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                               FIRST CAUSE OF ACTION
     Attempted Extrajudicial Killing in Violation of the Torture Victim Protection Act
    Against Defendant bin Salman, Defendant Alasaker, Defendant Alqahtani, Defendant
     Alassiri, the U.S.-Based Covert Agent Defendants, and the Tiger Squad Defendants

       254.     Dr. Saad realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 253 of this Complaint as if fully set forth herein.

       255.     The attempted murder of Dr. Saad by Defendant bin Salman, Defendant Alasaker,

Defendant Alqahtani, Defendant Alassiri, the U.S.-Based Covert Agent Defendants, and the Tiger

Squad Defendants, acting in concert, constitutes an attempted extrajudicial killing as defined by

the Torture Victim Protection Act, Pub. L. No. 102-256, 106 Stat. 73 (1992) (codified at 28 U.S.C.

§ 1350 note).

       256.     The attempted extrajudicial killing was not authorized by any court or judgment;

Dr. Saad was not convicted of or sentenced for any crime.

       257.     Defendants bin Salman, Alqahtani, Alassiri, and Alasaker personally committed,

or exercised command responsibility over, the U.S.-Based Covert Agent Defendants and the Tiger

Squad Defendants to commit the attempted extrajudicial killing of Dr. Saad.

       258.     Alternatively, Defendants bin Salman, Alqahtani, Alassiri, and Alasaker conspired

with, or aided and abetted subordinates, including the U.S.-Based Covert Agent Defendants and

the Tiger Squad Defendants, in their attempt to extrajudicially kill Dr. Saad.

       259.     In addition, the U.S.-Based Covert Agent Defendants and the Tiger Squad

Defendants personally committed, conspired with, or aided and abetted the commission of the

attempted extrajudicial killing of Dr. Saad.




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       260.    Defendants’ acts were committed under actual or apparent authority, or color of

law, of the government of Saudi Arabia.

       261.    Defendants bin Salman, Alasaker, Alqahtani, Alassiri, and the Tiger Squad

Defendants acted with specific intent to kill Dr. Saad. The U.S.-Based Covert Agent Defendants

provided knowing substantial assistance and agreed to participate in an unlawful act.

       262.    Defendants undertook substantial steps in furtherance of the attempted extrajudicial

killing, including but not limited to sending Dr. Saad threatening messages to compel him to travel

to vulnerable territory where he could be killed; kidnapping and torturing members of his family

in a further effort to coerce him to return to Saudi Arabia; asking intrusive questions of Dr. Saad’s

family and friends and using deceptive means within the United States in an attempt to identify his

precise whereabouts; and directing and carrying out a plot to travel to Canada with the express

purpose of murdering Dr. Saad.

       263.    Defendants’ attempted extrajudicial killing of Dr. Saad caused Dr. Saad severe

physical and mental pain and suffering.

       264.    As a result of Defendants’ attempted extrajudicial killing in violation of the TVPA,

Dr. Saad is entitled to damages in an amount to be determined at trial.

       265.    Defendants’ acts were deliberate, willful, intentional, wanton, malicious, and

oppressive, and should be punished by an award of punitive damages in an amount to be

determined at trial.

       266.    Additionally, Dr. Saad is entitled to a declaratory judgment stating that Defendants

have violated the TVPA by attempting to extrajudicially kill Dr. Saad.



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                              SECOND CAUSE OF ACTION
          Extrajudicial Killing in Violation of the Law of Nations under the ATS
    Against Defendant bin Salman, Defendant Alasaker, Defendant Alqahtani, Defendant
     Alassiri, the U.S.-Based Covert Agent Defendants, and the Tiger Squad Defendants

       267.    Dr. Saad realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 253 of this Complaint as if fully set forth herein.

       268.    The attempted extrajudicial killing constitutes a “tort . . . committed in violation of

the law of nations or a treaty of the United States” under the Alien Tort Statute, 28 U.S.C. § 1350,

in that it violated customary international law prohibiting extrajudicial killings and persecution as

reflected, expressed, defined, and codified in customary international law, multilateral treaties and

other international instruments, international and domestic judicial decisions, and other authorities.

       269.    Defendants’ attempted extrajudicial killing of Dr. Saad caused Dr. Saad severe

physical and mental pain and suffering.

       270.    As a result of Defendants’ attempted extrajudicial killing in violation of the law of

nations, Dr. Saad is entitled to damages in an amount to be determined at trial.

       271.    Defendants’ acts were deliberate, willful, intentional, wanton, malicious, and

oppressive, and should be punished by an award of punitive damages in an amount to be

determined at trial.

       272.    Additionally, Dr. Saad is entitled to a declaratory judgment stating that Defendants

have violated the law of nations by attempting to extrajudicially kill Dr. Saad.




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                                 THIRD CAUSE OF ACTION
                          Intentional Infliction of Emotional Distress
                                    Against all Defendants

        273.   Dr. Saad realleges and incorporates by reference the allegations set forth in

paragraphs 1 through 253 of this Complaint as if fully set forth herein.

        274.   Defendants are liable to Dr. Saad for intentional infliction of emotional distress

because they engaged in, conspired to commit, and/or aided and abetted the commission of

extreme and outrageous conduct that intentionally or recklessly caused Dr. Saad severe emotional

distress.

        275.   In particular, Defendants’ attempt to kill Dr. Saad—which included, inter alia,

hunting him down in the United States, traveling to Canada with the materials necessary to clean

up the crime, and kidnapping his children in an attempt to lure him back to Saudi Arabia to murder

him—was per se extreme and outrageous.

        276.   This extreme and outrageous conduct was deliberately calculated to cause Dr. Saad

extreme suffering. Alternatively, at a minimum, Defendants were reckless with respect to the

likelihood of causing Dr. Saad severe emotional distress.

        277.   Dr. Saad has in fact suffered severe emotional distress requiring medical treatment

as a result of Defendants’ conduct and he is entitled to damages in an amount to be determined at

trial. Indeed, Dr. Saad has suffered from anxiety, insomnia, increased hypertension, fatigue, and

headaches as a result of Defendants’ conduct.

        278.   Defendants’ acts were deliberate, willful, intentional, wanton, malicious, and

oppressive, and should be punished by an award of punitive damages in an amount to be

determined at trial.
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                                   PRAYER FOR RELIEF

WHEREFORE, Dr. Saad demands judgment as follows:

      A. awarding Dr. Saad compensatory damages in an amount to be determined at trial for

         all injuries suffered as a result of Defendants’ wrongdoing;

      B. awarding Dr. Saad declaratory relief declaring that Defendants have violated Dr. Saad’s

         rights as set forth herein;

      C. awarding Dr. Saad punitive and exemplary damages, according to proof;

      D. awarding Dr. Saad prejudgment interest as allowed by law;

      E. awarding Dr. Saad reasonable attorneys’ fees and costs incurred in this action; and

      F. awarding such other and further relief as the Court deems just and proper.



      Dated: August 6, 2020                               Respectfully submitted,

                                                          JENNER & BLOCK LLP

                                                          /s/ David Pressman
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